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Greta Katz (CA Bar #249400)
Greta@gmpusa.com
Chr'ystal Bobbitt (CA Bar #218544)

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Chrystal@gmpusa.com §§ §
GLOBAL HORIZONS, INC. - §§ §
11111SamaMonicaBoulevard,Suite1440 §;:" §
Los Angeles,CA 90()25 §§';§§ 2
Tel:(310)234-8475 ;§:§ .t,
Fax:(310)234-0786 :;<‘i:: f
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Attorneys for Plaintiffs

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

) v
GLOBAL HORIZONS, lNC. and ) . As _
MoRDECHAI ORIAN, ) S*EV(D 7 0 8 4 2 § @§“§§§
) COMPLAINT FOR
Plaimiffs, ) DECLARATQRY RELIEF
VS. .

U.S. DEPARTMENT OF LABOR, an
Agency of the United States of
America; ELAINE L. CHAO,
Secretary of U.S. Department of
Labor; MICHAEL CHERTOFF,
Secretary of Department of Homeland
Security; EMILIO T. GONZALEZ,
Director U.S. Citizenship and
Immigration Services; PAUL
NOVAK, Director Vermont Service
Center Of the U.S. Citizenship and
Immigration Services,

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Defendants.

 

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JURISDICTION
l. This Court has jurisdiction over the present action pursuant to 28
U.S.C. § 2201 (“any court of the United States, upon the filing of an appropriate
pleading, may declare the rights and other legal relations of any interested party
seeking such declaration”); 5 U.S.C. § 702 (“A person suffering legal Wrong
because of agency action, or adversely affected or aggrieved by agency action
Within the meaning of a relevant statute, is entitled to judicial review thereof”);
and 28 U.S.C. § 1331 (“district courts shall have original jurisdiction of all civil
actions arising under the Constitution, laws, or treaties of the United States”).
Costs and attorneys fees Will be sought pursuant to the Equal Access to Justice
Act, 5 U.S.C. § 504, and 28 U.S.C. § 2412(d), et seq. Relief is requested pursuant
to these statutes
INTRoDUCTIoN
2. This is an action for declaratory relief brought against Defendants to
determine the rights and obligations of Plaintit`fs Global Horizons, Inc. (“Global”)
and Mordechai Orian (“Mr. Orian”) (collectively, “Plaintiffs”), regarding

Plaintiffs’ ability to participate in the H-2A labor certification program (“H-ZA

 

 

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Case 2:07-cV-08428-ABC:'|'-§Z Document 1 Filed 12/31/07 Pa`ge 3 of 55 Page |D

Program”)l as consultants Through this action, Plaintiffs also seek to determine
What actions Defendants can take against Plaintiffs pursuant to the July 27, 2006,
Ernployment & Training Administration (“_ETA”) Debarment Notice.

3. There is a current, substantial, and actual controversy between the
parties. Defendants’ actions are presently having an immediate and substantial
effect on Global’s ability to operate its business and Mr. Orian’s ability to earn a
living. The questions in this petition are legal issues fit for judicial resolution and
are Within the subject matterjurisdiction of this court, as they involve federal
questions and federal legislation. Plaintiffs thus are seeking relief.

l PARTIES

4. Plaintiff Global is a legal person and Was incorporated in the state of
California on October 5, 1997. Global’s headquarters are located at l 1 111 Santa
l\/lonica Boulevard, Suite 1440, Los Angeles, CA 90025-3348. Global’s primary
business until November 2006 Was utilizing the H-2A Program as an employer to
recruit, hire, and employ a temporary labor force in the agriculture industry, to
service the temporary labor needs of clients across the country. Global now

Wishes to transform its business into a consulting business for employers Who

utilize the H-2A Program.

 

1 §§ generally 29 C.F.R. 655.

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5. Plaintiff Orian is an individual residing in the County of Los
Angeles, California. Mr. Orian seeks to use what he has learned through his
experience with the H-2A Program to become a consultant to employers and help
them navigate the H-2A Program procedures

6. Defendant United States Department of Labor (“DOL”) is an
executive agency of the Government of the United States of America. The DOL
is headquartered in Washington D.C. and maintains regional offices for its various
departments and agencies throughout the United States.

7. Defendant Elaine L. Chao (“Chao”) is the Secretary of Labor. This
suit is brought against Chao in her official capacity because she is the head of the
DOL and all of the offices and agencies of the DOL are under her direction and
control, including the Office of Administrative Law Judges (“OALJ”), the
Employment & Training Administration, and the Office of Foreign Labor
Certification (“OFLC”) within the ETA, 29 U.S.C. §557.

8. Defendant Michael Chertoff (“Chertoff”) is the Secretary of the
Department of Homeland Security. This suit is brought against Chertoff in his
official capacity because he is responsible for the administration and enforcement

of all immigration and citizenship laws that are bound in the powers, duties, and

functions of the Department of Homeland Security.

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judicial district in which. . .the plaintiff resides if no real property is involved in

 

 

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9. Defendant Emilio T. Gonzalez (“Gonzalez”) is the Director of the
United States Citizenship and Immigration Services (“USCIS”). This suit is
brought against Gonzalez in his official capacity because he is responsible for the
oversight, administration, and execution of the immigration laws of the United
States.

10. Defendant Paul Novak (“Novak”) is the Director of the Vermont
Service Center of the USCIS (“Vermont Service Center”). This suit is brought
against Novak in his official capacity because he directs the Service Center
directly responsible for the prompt processing of all H~2A worker petitions.

M

11. Venue is proper in this Court'pursuant to 28 U.S.C. §§ 1391(e) &
1391 (e)(3), which provides that a “civil action in which a defendant is an officer
or employee of the United States or any agency thereof acting in his official
capacity or under color of legal authority, or an agency of the United States, or the

United States, may, except as otherwise provided by law, be brought in any

the action.” Plaintiff Global is a legal resident of the Central District of Califomia

and no real property is involved in this action.

 

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STATEMENT OF FACTS

12. Global is a staffing company and a farm labor contractor and Mr.
Orian is its President and Chief S_trategic Officer. Under the H-2A Program,
Global has been in the business of providing local and foreign farm workers to
clients nationwide, acting as the workers’ employer.

13. A person or entity in need of agricultural labor, who can also
demonstrate to the satisfaction of the DOL that there are no able and willing local
U.S. workers available to do the work, may get a certificate from the DOL
(hereinafter, a “Certificate”) certifying no such workers are available. Such
Certificate will then allow the person or entity to proceed with a process that may
ultimately permit the importation of foreign laborers into the U.S. for temporary
employment lf the person or entity violates any material terms of the Certificate,.
the person or entity may be penalized.2

14. Up until July 2006, Global was acting as an employer and
contracting out its workforce to agricultural clients in need of temporary labor.
As the employer, Global was responsible for payroll, workers’ compensation
insurance, taxes and all duties and responsibilities of an employer. As the

employer, Global also was responsible for submitting the application for the

 

Zse_e 20 c.F.R. § 655.110

 

 

 

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Certificate, and for obtaining guest worker visas for the foreign workers who were
employed when there was a shortage of domestic workers. Global had obligations
to its workforce that had to be met on a weekly basis, regardless of whether

Global’s clients met their obligations to Global.

15. Global ran into difficulties at times while acting as an employer,
largely because when the farmers failed to meet their obligations to Global,
Global could not meets its obligations to its employees, which sparked

investigations and ultimately lead to Global’s temporary exclusion from the

Program as an employer.

16. On July 27, 2006, because the ETA determined that Global, as an
employer, had allegedly violated certain material provisions of a previously issued
Certificate, the ETA issued a Debarment Notice (attached hereto as Exhibit A)
addressed to Plaintiffs, stating in pertinent part: “[P]ursuant to 20 C.F.R.

§655.1 10(a), the [OFLC] has determined that any H-ZA labor certification
application filed by either [Global Manpower], also known as [Global Hori'zons]
[sic] or [Mr. Orian] will be denied for the next three years.” The above quoted

passage is the only language in the Debarment Notice describing the penalty

assessed against Plaintiffs.

 

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Case 2:07-cV-08428-ABG-T?Z Document 1 Filed 12/31/07 P§@e 8 of 55 Page |D #

17. According to 20 C.F.R. § 655 .1 10, the penalty described in the
Debarment Notice is the sole penalty permitted by the regulation, namely that as a
result of violating a material term of a labor certificate, for a certain period of time
“any [new] application subsequently submitted by the employer for that time
period will not be accepted by the OFLC Administrator.”3 (emphasis added)
Global was debarred for three (3) years, which meant that for three (3) years after

the July 27, 2006 Debarment Notice, any application submitted by Global or l\/fr.

Orian will be rej ected.

18. On August l 1, 2006, Plaintiffs submitted a request for a a'e novo
review of the Debarment Notice and on November 30, 2006, Administrative Law
Judge William Dorsey issued a Decision & Order making the Debarment Notice
the final order of the Secretary of Labor (attached hereto as Exhibit B).

19. lt should be noted that after November 30, 2006, Plaintiffs filed an
appeal and an application for a TRG with the Central District of California.
While the appeal is still pending before the District Court, the TRO application
was denied. Plaintiffs then appealed to the Ninth Circuit Court of Appeals. On

December 13, 2007, the Ninth Circuit issued its decision affirming the denial of

the TRO application

 

3 20 c.F.R. § 655.110(a).

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20. It is also imperative to stress that while the matters before the District
Court and the Ninth Circuit pertain to Plaintiffs’ ability to utilize the H-2A
Program as an employer, the matter before this Court is whether Plaintiffs can
operate as consultants to potential users of the H-2A Program, without the DOL’s
constant intervention and prevention.

21. The so-called “debarment” essentially shut down Global’s business
entirely. Global was allowed to complete its existing contracts, as the debarment
is prospective only, but as soon as those were completed Global essentially shut
down. Global operates now on a very limited basis, defending and prosecuting
litigation matters and trying to restore its business operations

22. The current overwhelming and grave shortage of labor in the
agriculture industry_is undisputable. Employers who previously hired
undocumented workers now avoid such practices because of the growing scrutiny
and raids by the federal govemment. Plaintiffs want to use their knowledge,
experience, and skill to serve as a consultant to all those businesses that need
assistance in navigating and using the very complicated and time consuming H-

2A Program. (_S_€§ Los Angeles Times Article 10/7/2007, attached hereto as

Exhibit c).

 

 

 

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23. Thus, Plaintiffs now wish to shift their business model from that of
an H-2A employer to that of an H-2A Program consultant Global was one of
very few businesses in the country providing a niche service, and Mr. Orian is one
of the most experienced and most knowledgeable persons in the country about the
workings of this Program.

24. Under this new business model, which abides by the clear language
of the Debarment Notice, Global would not file any H-2A labor certification
applications on its own behalf and would not be the employer ofany H-2A
workers. Instead, Global would assist its clients in obtaining H-2A certification
for them, acting only as lan H-2A Program consultant to its clients.

25. This matter is brought before this Court because Global had already
attempted to initiate this new business model, in February 2007, but was quickly
shut down by the DOL. In or about February of 2007, l\/IcPeak Orchards
(“McPeak”) and Global entered into an agreement whereby Global would act as
McPeak’s H-2A consultant Global proceeded to assist McPeak in filing the
appropriate applications on McPeak’s behalf to begin their H-2A labor
certification process.

26. On March 5, 2007, the DOL issued to l\/lcPeak a letter (attached

hereto as Exhibit D) indicating that McPeak’s alien agricultural labor certification

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application had been rej ected. The reasoning for the rejection, according to this
letter, was that “Global Horizons, Inc. is the employer of record rather than
McPeak Circhards . . . Global Horizons, Inc. has been debarred from the H-2A
program for the next three years.”

27. The DOL intervened once again, in or about May of 2007, when the
Karni Farm Farnily (“Karni”) and Global entered into an agreement whereby
Global would act as Karni’s H-2A consultant Global proceeded to assist Karni in

filing the appropriate applications on Karni’s behalf to begin their H-2A labor

certification process.

28. On June 1, 2007, the DOL issued a letter to Karni (attached hereto as
Exhibit E) indicating that Karni’s alien agricultural labor certification application
had been rejected. The reasoning for the rejection, according to the letter, was
that “Global I-lorizons, Inc. was a former H-2A employer that was debarred from
participating in any way with the H-2A program. Therefore, we are rejecting
your application due to the involvement of Global in the process as an agent in

your application and its involvement in the hiring and recruitment process.”

(Emphasis added.)

29. These` actions taken by the DOL exceed the scope of the debarment,

which only precludes Plaintiffs from filing new H-2A applications while acting as

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an employer, but does not preclude Plaintiffs from acting as consultants The
DOL’s actions caused Global to lose business, not only with regards to the two
contracts with l\/lcPeak and Karni, but probably with regards to other future v
contracts The DOL’s actions also have prevented Plaintiffs from implementing
their new business model; the DOL’s anticipated interference looms large. Thus,
the DOL’s conduct is currently causing Plaintiffs considerable hardship.
Plaintiffs therefore require the Court’s intervention in this matter.

PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully pray for judgment as follows:

l. That this Court renders a Declaratory Judgment declaring that the
actions of Defendants in failing to fairly consider applications for H-ZA labor
certification filed by clients of Plaintiffs while acting as consultants is invalid and
unconlstitutional, under the Constitutions_ of the United States and the State of

California, and under the statutory laws of the State of Califomia;'

2. That this Court declares that the actions of Defendants in failing to
fairly consider applications for H-'2A labor certification filed by clients of Plaintiffs

while acting as consultants is ultra vires and unlawful according to the laws and

regulations of the United States;

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3. That this Court retains jurisdiction of this matter for the purpose of

enforcing the Court’s Orders;

4. That this Court award to Plaintiffs their costs and expenses of this

action, including reasonable attorneys’ fees, in accordance with 42 U.S.C. § 1988

and other applicable law;

5. That this Court adjudges, decrees, and declares the rights and other
legal relations of the parties to the subject matter here in controversy, in order that

such declarations shall have the force and effect of final judgment; and

6. That this Court grants such other and further relief as the Court deems

equitable, just, and proper.

DATED this 28th day of December, 2007

Respectfully submitted,

GLOBAL HORIZONS, INC. and
MORDECHAI ORIAN,

by their attorneys; l

Greia Katz (cA M49400)

Chrystal Bobbitt (CA Bar #218544)
GLOBAL HoRIzoNs, INC.

1 111 1 Santa l\/Ionica Boulevard, Suite 1440
Los Angeles, CA 90025

Tel: (310)234-8475

Fax: (310)234-0786

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Case 2:07-cv-08428-ABC-RZ Document 1 Filed 12/31/07 Page 14 of 55 Page |D #:16

Exhibit A

Case 2:07-cv-08428-ABG:|H Document 1 Filed 12/31/07 P§ge 15 of 55 Page |D #'17

§§ .

U.S. wr&§§&t’im€tt‘i§ 01 L&i§€§i‘ Employment and Training Administration
200 Constitution Avenue, N.W.
V\'ashington, D.C. 20210

,.ilJL 27 2905

 

CERTlFlED |VlAlL
To: Global Horizons l\/lanpower, lnc. CERTlFlED l\/lAlL, RETURN RECElPT
Attn: l\/lordechai Orian REQUESTED: Receipt #70001530000385797511

 

11111 Santa l\/lonica Blvd., Suite 1440
Los Angeles, CA 90025

To: l\/|ordechai Orian CERTlFlED l\/lAlL, RETURN RECElPT
c/o Global Horizons l\/lanpower, |nc REQUESTED: Receipt #70001530000385797528

11111 Santa l\/lonica Blvd., Suite 1440
Los Angeles, CA 90025

Subject: Department of Labor’s Determination and Notice of Prospective Denial of
Temporary Alien Agricultural Labor Certification for Three Years

Dear Employers:

An investigation of your operations relating to the employment of agricultural workers has
disclosed multiple substantial violations in Califomia for the H~2A labor certification
application that covered the period from August 1, 2003, to April 30, 2004, under the
immigration and Nationality Act (lNA) , as amended by the lmmigration Reform and Control
Act (lRCA) (8 U.S.C. §§ 1101 (a)(15)(l-l)(il)(a), 1184(0) &1186), and under the implementing
regulations for these Acts. As a result of this investigation and pursuant to

20 C.F.R. § 655.110(a), the Office of Foreign Labor Certification in the Employment and
Training Administration (ETA) has determined that any H-2A labor certification application
filed by either Global Horizons l\/lanpower, lnc., also known as Global Horizons, lnc. (Global)
or l\/lordechai Orian (Orian) will be denied for the next three years l,have concluded that
Global and/or Orian made fraudulent and/or willful misrepresentations with respect to their
labor certification application and that these actions constitute a “substantial violation “as

defined in 20 C,F.R. § 655.110(9)(1)(i)(E). l\/lore specifically:

o Global and Orian knowingly provided false information regarding agricultural work to be
performed in Califomia under the labor certification application requested for the
August 1, 2003, to April 30, 2004, time period This application sought certification for 200
workers, when neither the agricultural work nor the contractual relationship with Taft `
Vegetable Farms, which was the basis for the application, ever existed

o Global and Orian also knowingly provided false information regarding the termination of
the employment of U.S. workers They represented to governmental agencies that the
employment of U.S. workers was terminated for poor performance when, in factl the
workers were terminated for reasons other than for cause.

Exhibit A

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This letter and action address only the violations based on fraud and/or misrepresentation
Should violations for this certification be found on other grounds, separate action may be
taken ata later date.

This determination is addressed to each person or firm shown above as being an addressee
of this Determination and Notice. This action is taken on a joint and several basis, Which
means that each addressee of this Determination and Notice is subject to a denial action
Any request for review of this Deterrnination will act as a request for review only by the
person orfirrn that submits that request, unless it1s expressly stated otherwise m the request

for review itself.

Each addressee has the right to request an expedited administrative review or a de novo
hearing of this Determination before a United States Department of Labor Administralive i_aw
Judge. lf either of the addressees makes such a request, the request must be in writing and
dated, must specify whether an administrative review or de no_vo hearing is requestedl and
must be served on the U.S. Department of Labor, Employment and Training Administration, »
Office of Foreign Labor Certification, Attention: Bill Carlson, 200 Constitution Avenue N. W.,
~ Room C- 4312, Washington, D. C 20210, within seven calendar days of the date of this

Determination and Notice.

Sincerely,

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William L. Carlson, Ph.D.
Administrator
Office of Foreign Labor Certification

Exhibit A

Case 2:07-cv-08428-ABC-RZ Document 1 Filed 12/31/07 Page 17 of 55 Page |D #:19

Exhibit B

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u.S. Department Of L-Bb°l' Oldee andminlalralive Law Judges

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San anelsco, CA 94105

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1415 744-65691FA>1)

 

Issue Date: 30 November 2006

Casc No.: 21106-'_1`.1.€-000] 3

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GLOBAL HORIZONS, INC., ~
GLOBAL HORTZONS MANPOWER, INC., an '
MORDECI'TA'I OIR]AN, an individual,

1`.! ~'.RF.SPONDENTS.
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Berbara A. Matth.ews, Esquixe
Nurman E. Garcia, lisquire
Oiilice of the Solieitar of Labor
Fcr the Adminisirator

Mindy S. Novil<, Esquirc
Dean A. Rocco, Esquire
.ia. cksu'n lewis IJ.P

For the Respcndeuts

Bcfore: WlLLIAM DORSEY
.~ A:lministrat.ive Law lodge

licciaion and Order Dismissing `Untixnely Request for fleming

' Thn parties have died opening and supplemental arguments on the motion the
Adminisu‘ator of the Departmcnt’s Oiiicc of Foreign Laer Certification, Employment and
Training A.dminisuetion, filed to dismiss the Resp¢mdcnts’ request for hearing as untimelyl Tne
Responderirs' opposition to the dismissal includes exhibits and declarations3 so the analysis is not
confined to the Admi`nistrative Rcco:d the Department preparedz f find that (l) the request for
hearing was filed late_. (2) the doctrine of equitable tolling sets the standard for determining
whether to accept it, and (3)1he Respondeni.s fail to satisfy that standard The request for hearing

 

' The Ocder for Funher Briefi\ig entered on Oct. 4, 2006 asked the parties tobroadon their researched the
standard to he applied 111 deciding whether to accean late tiliug.

.._‘ ’ The conliiorl copy of the administrative record the Department served, ns 20 C»F-R- § 6'55-112(1\)(')
(2006) requires includes 157 pages

Exhibit B

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Case 2:_0?;cv-0§3428-ABG-§Z Document 1 Filed 11&/_§”1[0{§.¢ Page 191_9;]55,_0,§=4>,:39€ lqu#:21

is dismissed Dis'.nissal makes the Department’s July 27, 2006 Determination and-Notice of
Prospective Donie`. oi" Temporazy Alien Agrie\un:ral"Labor Certi’cicotion i"or Three Years (the
Detennination Noticc) the Secretary of Labor’s final order.

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Agricu_ltiusl workers have been admitted temporarily (/.'e., as nonimmigrants) 10 the
United States for over 50 years The i-I-2A visa program had its genesis in the hnmigration and
Nationality Act of 1952 (the lmmig'ration Act). Sul_:pozograph (1‘1)(11) of Seetion‘lOl(a)(l 5) ol" 1116
lmmigr:ation Act d ascribed an eligible foreign worker as: `

(H) an alien having a. residence in a foreign country which he has
rio intention of abandoning . . . (ii) who is coming temporarily to
the United States to perform temporary services or labor, if
unemployed persons capable of perfonning such service or labor
csa not he found iu this eouutry. 8 U.S.C.A. § 1101 (a)(l S)(i-l)(ii) .

A sniff report prepared for the Committee on Edueetion and Labor of the House of
Representatives gave this summary of the objectives of the 1952 legislation:

ln creating the H~Z progrnm, Congress attempted to address the
problems that DOL had docwnented pertaining to wage depression
and job displacement caused by foreign agricultural workers An
explicit intent of the law, theret'oro, was to reserve Americzm jobs
t`or Ameriean workers Thus the ici-2 program allowed the
admission of nonimmigrant workers into the U.S. to perfomi
temporary services only if wllling, able and qualified U.S. workers
could not he found. Fuxtlier to offset the adverse impact of foreign
labor on the domestic agricultural labor market, the regulations
required H-2 agricultural employers to pay an enhanced wage rate_.
known as the "adverse effect wage rate." Stoff of Houso Comm. on
`E_d uoation and Labor, 102d Cong., lst Sess., Report on the Use of
"I`e.:npor'ory Foreign Workers in the Florida Sugar Cane Industxy 3
(Comm. Priut 1991)

The Im‘mi:gratian Reform and Control Act of 1986 amended the 1952 lmmigration Act to`
create a new category ol" temporary agricultural worker (designatod an "H-ZA" worker), deiin ed
os:

(H) an alien . . . (ii)(A) having n residence in a foreign comin.'y
which he has no intention oi" abandoning who is coming
temporarily to the United States to perform agricultural labor or
seivices, as defined by the Secretary of Labor, . . of a temporary or
se:mona.l nature... 8 U.S.C.A. § llOl(a)(I~I)(ii)(A)

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l ExhibitB
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`l`he Houlse staff report gave this reason for the new category:

ln response to complaints by the agriculture industry that the H-2 .. _` ' `
pro gram was too burdensome and innextble to meet its labor ‘ " h .
nee ds, Congress amended the program in 1986 to create separate _ . ,.
agricultural and non-agricultural temporary foreign worker ' " ~
programs . . . . The new agricultural program is known as "H-ZA.. _,
after the new subsection designation ’l'he process of applying lirr _' .' '
terr.porary foreign workers has been greatly streamlined under the j '
li-$lA program However, the amendment also has incorporated `
into the statute many of the protections for U.S. workers that _ ~~-

prc viously had been established by regulation under the H~Z

pro gram. ’l`he Il-2A statute continues to prohibit the admission of
temporary foreign workers at wage rates or working conditions _
which will adversely affect similarly-employed United States' `
workers Report, Wra, p.Z, 4.

Today foreign nationals maybe granted visas to work temporarily in tho;United States
when there are not enough workers in this country who are able_, willing, qualitied and available
cf 1116 time and piece needed to perform agricultural labor or services. 8 U.S.C.A. §§1101

‘ (a)(l$)(l-l)(i'l)(a), 1184(3), (c) (Wesll 2005); 20 C.F.R. § 655.90(b)(l) (2006). Employers who
need the lab or (or their agents, such as the Rcspondcnt Global Iio.\'.izons, lnc.) petition for the H-
2A visas that will admit these agricultural workers to the United States. 8 U.S.C.A. § l 184(b),
(c)(l) (Weet 2005); 8 C.F.R. § 214.2(h)(1)(i) (2006). Statements in the application and all
interactions with itc Department must be truthful 29 C.F.R. § 501.7 (2006).3 'l'lte Secretary of
Labor’s regulations describe the process used to certify that qualitied United Statcs workers arc
uxwvuilable for the jobs, and that the temporary employment of the foreign workers will not

 

’ ’l`hc\tll-?A. program regulation emphasizes the candor requirement srating:

"l.nfommtlon, statements and data submitted in compliance with provisions ~of the
[llnmigniticn] Aot or those regulations are subject to title la, section 1001, ofthe U.S. Cude,
which provides

Soo\ion 1001. Staterneuts or entries generally

Whoeve)‘, in any matter within the jurisdiction of any department or agency of the
United Ststcs knowingly and willfully falsifies, conceals or covers up by any trick, scllemc, or
device a mzaen'al facl, or makes any false, iclitious or fraudulent statements or representations or
makes or u:les any false writing or document knowing the same to contain any false, Eotitious or
fraudulent statement or enuy, shall be flood not more than $10,000 or imprisoned nor more than
Eve yuat's, ur balh." v

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.__ . . . ____ . ~. __ ____ .

adversely effect the wages4 and working conditioners of similarly employed workers in that part
- of the United Stote:t. 8 C.F.R. § 214.2(h)(5)(ii); 20 C.F.R. §§ 655.90(b)-(d); 655.103.

The Secretary of Labor enforces both the attestations an employer makes in a temporary
agricultural labor certification rtpl.iliootion1 and the regulations that implement the i-I-ZA progrsrn.
29 C.F.R. §§ SOlll., 501.5, 501.16 and 501.17 (2006). Il` foreign Workors are paid sob'stsudnrd
wages or subjected to sub-standard conditions_. the market for form labore§s or services would
prefer less costly ttunporsry foreign workers, to the detriment oi" Americenst Folsc or fraudulent
assurances a`bo\tt the jobs, wages or~worlcing conditions, or the t`oilure to abide by program
regulations may result in (1) monetary penalties imposed by the Department’s Employment
St'andat~ds Administration, (2) debarment 'l`nom filing other H-ZA certification applications
imposed by the Employment and Training Administretion, and (3) proceedings for specific
perfomionee, injunctive or other equitable relief in U.S. District Court. 20 C.F.R. §§ 65§.103;
655.110 (2006);. 29 C.F.R. §501.19. 29 C.F.R. § 501.16 (c) and (d) (2006). The authority for
these various enforcement strategies is found in 20 C.F.R.. §655.90@)(2)(2)(A) and 29 9-F-R»
§§ 501.15 and 501.16. Thc immigration Act forbids the Secretary of Labor to certify an
employor's H-ZA application when'.

'l.`hr.= employer during the previous two-year period employed l'~l-?.A
workers and the Secretary of Labor has determined after notice-
end opportunity for a lioaring, that the employer at any time during
that period substantially violated a material term or condition of
the labor certification with respect to the employment of domestic
or non-immigrant workers 8 U.S.C.A. § llSB(b)(Z)(A) (West
ilOttS).

Tcmpor.ary labor certitieoti'ons require exceptionally swift handling so that farmers can
harvest crops or hrccd farm and range animals as growing and breeding seasons dictate See _
review/54 20 C,F`R. § 655.101(0), 64 Fed. Reg. 34957, 34961-34962. The employer may tile on
H-ZA certification application just 45 days before the workers are needed. 8 U._S.C.A.
§ 1188(0)(1) (We:tt 2005). The Department must tell the employer about any deficiencies in the
application within seven days, and offer to let the employer make a "prompt resubmission ot`o

 

4 See 20 C.F.R. § 555.107 (2006) on the mandate to pay prevailing woges, and how those WBSU “Y°
computed '

’ 'l`lie employer must arrange to house the temporary foreign workers; protect them tiom the economic
consequences of jett injuries with workers’ compensation insurance; furnish necessary tools, mEBlS, and

~ troosportatlon; guarantee the number ot` paid work days at the prevailing wage rates; pay the workets at frequent
§I;;¢)rvals; and-knop records to demonstrate compliance with these requirements 20 C.F.R. §§ 655.102(b)(l) through

_° :I`wo examples -- insurance and labor disputes - illustrate how the immigration Act inhibits employers
_&mn gaming an advantage through hiring temporary foreign agriculth worlcera. 'l`he employer must provide
insurance benefits to H~2A workcrs, for any injury or disease that arises out of and in the course of the employment
that are no legs generous then the benefits state law requires for similar workers. 8 U.S.C.A § llSB(b)(J) (Wesc
200$) and 20 C.F.lL §655.102(!>)(2) (2006). 'l‘he enmloyor also must attest tlmt the jobs to be certified are not

vocsz because o former employee is on strike or is lo‘kod cut ‘ rh f `
tiss(b)(l) (W-estzoo$)&zt) C.F.l<._ § 65$.103(a) (2006).b m a come o a labor dupuwl s U.S.C.A §

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o ¢`_.n ~_-1_- ', ..

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. -_.`

modified application"’ 8 U.S.C.A. § llllS(c)(Z)(A), (B) (West 2005). The modiEostionsmust
come within five calendar days 20 c.F,R..' §§ 655.101(¢)(2); 655.104(;=)(2):..-(20_06_).,. »'rhs
decision on the application (of'cen denominated a Det~exmination Notiee) is due no ‘fev./sr:-'than 30
days before 'lhe employer says thc workers are nceded. 8 U.S.C.A. § llBS(c),(S)_ (\_\_/cst,ZDO$).7
When an application is rejected on its merits or because it is incompleto, lho_-.ornpl_o)"'er may
request an expedio:d review ol"l'.he denial 8 U.S.C.A. §'1188(¢) (Wcst 2005). 'Attlro omploycr’S
request., an administrative ls_w judge eonvenes a always hearing within five working days mar
the judge receives the case filc, and the decision is due within 10 days aftgr;the licsring. 20
C.I".R. § 655 .l lZ(l>)(l) (ii) & (iii) (2006). lt_ becomes the ".{inal decision of tho .Sooretary, add no
further review shall be given co the temporary alien agricultural labor cmiticsiion.application or
the temporary sli¢n agricultural lulmr eertiiication determination by any _D_OL ollielal.f’ 20
C.F.R. § 655.1120>)(2). Tbesc accelerated time frames to advise an emplqu of say omissions
to permit a modification, to determine whether to grant the elppliostionq to offer review in nn
administrative lies ring and to issue a final decision_. implement the Congressional" policy that the
Secromry dispose of H-Z`A matters with dispatch. .= '~

Ai ...7/'?¢.'!5£’£0’1>@' /?¢Vue.r/ _ v t

'_l`he litespo ndonts’ business is to obtain forsigi agricultural workers for Amerioan farms
that need thom. They may apply for H-2A temporary alien agricultural labor certifications in
their own name (1"\>1' Global Horizons Ma.opower, lnc.) or as agents for employers tliey.represout'.
8 C.F.R. § 214.1!(11)(5)(1)(A)` & 20 C.F.R. §655.201(a)(2). ' Wo\l-vorsed in H'?A F’°B"am
requirements and regulations they have requested review of tire Department’s determinations
before administrative law judges in at least 18 cases since 2001at Global’s employees include on
immigration attorn¢y. J'e¢s; the response to tile Dopartment"s motion to dismiss at pga 2, and the
declaration ofArilc Bon-Ezra.

The fRespcndents have experience wilk debarment notices loo. Thc Department brought
an earlier proceeding to debar these Respondenrs, that sought additional relief as well. h r¢’.'
G/aM/f/ani'am.l/a/gyow¢); ///r:. md/i/omi?c/za!' fhwa Cases Nol 2005~TLC-00006 and 2005-
TAE-OOOOl. The Department alleged they had committed several substantial violations of the

 

_ ’ 'rh¢= simms regulations have not yet been undan and continue w rolled on older 2l1-day
requirement 20 C.F.R. §§ 655.}0|(|:)(1); 655.!01(€)(2) (2006). Section 748 ofPublic Law 106-78_. dated October
22, :1999, amended motion 218(0)(3)(A) oi` the Imu\igatlon A¢t [8 U\S\C.§ llSS(c)(S)] by changing “20 days" to
"30 ays." _

° a/¢M/?¢.~/:o)zr, //¢e., zoos-'rLC-14(ALJ sept \9. zous); aos¢/#Mm,- /M, zooseroio (ALI
S¢pT. 19, ZOO(;); 6'/1)@4/ Forrl‘.'o)zs; /)'14 /L"rs¢'lrr/'de AMr/irwA/)u; .£/d/, 2005-'1`LC-6 (A.L.l Mt\y 17, 2006); 57on
//¢WiM/l$ //IG. 2006-TLC~4 (ALJ Mar. 2, 2006); G'/add/Far/i*o/As .//»‘¢’., 2005-TLC-18 (AU Oct. 7. 2005); G'./Ma/
Fetr£ra/.o; })m. 2005-TLC-14 (AI.I .lune Zl. 2005); Gl/Ma/ Hvrs’rr)m; /)1¢:, 2005-'|`LC-l2 (ALJ Msy 25, 2005;
G'/MA/Hc>rkcvzt; /m: /l/a//sy.' /"m/? Gr¢s",‘zzrd md G/v¢w dm Fz/rm/, 200$-'1`LG~11 (ALI luna 8, 2005); (/'/oéa/
HF£¢MJ; /m~', 2005-~'1‘1.0-10 (_ALI Msy 25, 2005); G/oM./.i’arkm fha /7’¢//4'.&`/#)? Marav, 2005-Tr.C-9
(ALI Iune l, ?.(lll$)_: G/Ma/Hm).'rm\; his 2005-11€-7 (ALJ Apr. 28, 2005); Cr'/rzém/M)ri'r)n:/m H¢’/»é/s/"ru/’/
C'at/, 2005-TLC-l (A.Ll Oot. 18, 2004); 6'/0&/!///0/:&0/0 /U/e'ew¢!c/'e' Farm/, 2005-TLG-4 (AT.J Fob. 25, 2005);
O¢MHW/sewpnve Fm.r/. sons-TLc-a (Au Fob. 25, 2005); alm///a/sm/M stewath cb,/, 2004-
TLC-l$ (ALJ Sepr.. 27,,2004); 070¢#///0/&'0/1¢' ///a. 2004-'1`].0-11 (A.lJ July 30, 2004); G'/Md //ar/zo)zr
M"w~'¢r, /m_-, 200 3-_'rt.c-9 (ALJ Aug. 4, zuu:s); ow)éa/A'wsmr /t/awowr, /m:, 2003-nos (ALJ Apr. 11,
2003)- »YMVNIW.MU.dol.gov/PUBL.lC/INA/RBFEJLENCES/CASRI.ISTS/'I'l.,C_DEClSlONS.i¥l'M.

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Case 2:07-cV-QE.3'A:2_§3-_,§}|§(§:R3;Wgggy[pent 1 Filed zl?.é@@lé€hi P§Qe ZBrelf 55.ool?tlgeF|~|DJ#:25

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' -. , regulations that govern the terms and conditions ol~` the H-ZA workers’ employment the workers’

'-'_i.;.»‘i~beheiits," end the workers’ pay with respect to aliens who labored on farms in Hawan. lee the

' ljepertment’s February 23, 2005 Detenninati.on and Notice of Prospective Donial of 'l`emporary

: 'Alie'ri Agriculwra'. Labor Certification for ’l'hree Years (Debsrrnent Noticc). 'l`he Depedment'e

' ~fD'e`b "'me`ut Notice in that consolidated ease was sent by eertilied mail, but addressed to the

~ '. _~‘-Re‘spondeno rt 104'/4 sane Mo“iea sourevard, sole 403, Los mg¢l¢s, california 90025.

.-"l`h"eii‘ former lewyers, MeGuinoss, Norrls & Williams LLP of Weshington, Q.C., served the

"R*éspondentn’ request l`or hearing on Mz\rch 2, 2005. The Respondents alleged m their hearing v

. .' request that the Debarment Notice had been misaddressed, and tbat~the Respondents comet

`~ address was nearby et lilll Santa Moniea Boulevard, Suite 1440, Los Angeie_s, Cehfomra

-' -90025_'. This Hewaii debarment matter remains pending et the Olil,ice of Adml§ustcatwe l.aw
Jr_rdges, after the liespondents withdrew from a settlement that had been approved

'~ ~ _Basod on that rather recent experienee, there was no reason to believe that mailing
another notice by certified mail - correctly addressed this time - would impair the liesponcl¢mt s
ability ` to request a bearing in a timely'. fashioir. Thc Determinetion Notice from the
Adrninisu‘atnr` of the Oflice of Foreign Labor Certification found, based on his invest\gahon_. thet
in a medication application for jobs.'m Califomia for the period from August l., 2003 to hprrl
30. 2004, the Respondents (.l) willfully and fraudulently misrepresented that Global Horizons
Menpower lne. had contracts with 'l`aft Vegetable Farm for 200 workers when there was no
contract and there were no jobs, and (2) knowingly gave false information, wlr._. that H-2A
workers brought into the country had been terminated for cause (poor performance),'when they
had been temilmtted because the Responciehte had no work for them. Administrative Reeord
(AR) at 14. The'. implication was that the Respondents brought those workers into the Cou!m'y
without work, sh.opped them to l‘armers aher they arrived_. and when unsuccessful, fired then`i6
AR at 3»4; 8; 13~~14;'144. These willfully false statements, which are “substantial violatmns,"
led the Administrator to impose the maximum penalty, barring the Respondents from submitting
any other H-2A certification applications for three ycars.

'l`he Adrrinistrator’s July 27, 2006 Determination Notice explained how to contest the
_ debarment Trac king 20 C.P.R. § 655.110(a), it advised the Respondents that they:

lm[d] the right to~requesc an expedited administrative review or a
air/row hearing of this Determination before a United States

D eponment of Labor Adminisirative Low .ludge. Lt'cither ofthe
[F-¢SPOndents] makes such a request the request must be in writing
er id dated, most specify whether an administrative review or 05’
)h)wllearing is requested, and must be served on the Department
ow.' Labor, Employment and Training Administration, Ot`fioe ol`
Foreign Labor Certification, Attention: Bill Carlson, 200
Constitution Avenue, N.W., Room C'4312, Washington, D.C.

 

’ The face in this paragraph are based on the Notice of intent to Take 0flieial Notice issued cmOct. 4,
2006. No party objected to it.

‘° see ms creation crow term ar 20 c.r.rt § ess. llo(g)(r )n')(E) (zoos),

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20210, within seven calendar days of the date of this
Detl,~.mtinati on Notiee. .

'l`ho ltospondents received the certified mail on August 3, 2006, 7 colcndor.__;deys`jciicr lt
was mailed .AR at 5.~ Their request l`or o die novo hearing was sent by overnight-delivery to the
Adxninistrato-r on Fn'duy, August 11, 2006. eight days after the Decemlnatt¢§'n¢~;ijlog_<=e Wa$
delivered to diem. They made no, request co extend their time to respor\d,___.nor'drd tl}ey
aclmowledge that their request for hearing was late. The Adminisuator receivod~jr_herr hearing
request the next business day, on Monday August 14_. 2006. AR l ; 2, '- : , .= . . _

Througli the declaration of Arik Ben-l?.zra, the fliespcndents suits that Glol\_el“s littman
Rcsources dopartrr. ont provided the Detcrmination Notice to its legal department “_‘epproxrmately
a week after it was delivercd,” at which point the legal department “actcd quickly"`.to-'seml the
hearing request by overnight delivery on Friday, August ll_, 2006. 'l`he employee who had
aligned the receipt for the certified mail, Rob Rutt,,says he delivered it on August 3, 200_6 (a
Th“fsdal’) to an administrator who gave it to an employee who scans mail into il:e_ computer
SY~*'l'em- Al¢¢jmdrl Rosulcs, who did tlte seanning, declares that she scanned it__“u_x_che late
:t'l`t/er'noon,”ll and forwarded it on to the Human R.osources Doparl*ment. , . ~ ' ~ -

Tho l')oa.\'in;; request was lete, not because the Rcspondents failed to mail it olt`Augttst ?1,
2005.~ but bf=¢ausc it longuished Fot‘ eight calendar days before anyone did anything about tt.
Scafming Ob'viatcs the need to shu'l’lle paper around because correspondence becomes digitally
available throughout the office network ‘l`hc central question is why nobody dealt._With the
Dot¢rmination Notice For over a woek, not so much why the paper itself sat somewhere at the
Htunan Resourccs deparuncnt. The declarations offer no explanation '

C.' Fé¢'&a/zdam'dred/o .Oe/emr>ze %e/&er m.Jccgpr/?shrediewsr)!rfai//ear/>)g
' or£eV/Z'Wa/M¢.’ yagow/mmi q/Zaé/))'

l. Leteness aluri `ctional Dcfoct

'l`he short time available for what the statute’s catchline calls “s.dministrative appeals” is
rooted in the statutory text requiring that the Secretary’s “[r]egulations shell provide for an
expedited procedure for . . .review.” 3 U.S.C.A. § 1188(e)(1) (West 2005). Through rulemaking
the Secretary Sel; the period as “seven calendar days” from “thc date of the notice.“ 20 C.F.R.
§ 655.110(&)¢2006"». ,

The only decision within the Department of Labor to consider the etl’ect of a late request
for an expedited review under tlte H-2A regulations involved the rejection ol` a facially
unacceptable appli.:aiion, which is governed by a different regulation that also.allows seven days
to seek rcvicw. S':»e 20 C.F.R. § 655.104(¢) (2()06).‘2 '.t`hat employers hopelessly late request

 

“ Exhibit s m her declaration nm ore came as 3:44 p.m.

n Tbc pertine ct regulations tcxt, which governs expedited review cfa determination nor to ancch an li-GA
application for cousidt.rrction, requires thot.the notice the Department sends to tlte employer "smte dmt in order to
olmltx such a review or hearing, the employer. wi/)i)'/; raw/1 ed¢/)da/ dew q/'//ie' date g/'Me ))mk'e. shall tile by
muslmll= (fax). telegram, or outer means normally assuring next day delivery a wrtrum request to the Chief
Administmtive tt.aw lodge ofthe Department nfl'.al)or . . . .” (emuhasis added) 20 C.lf.R. § 655.104(0)(3) (2006).

.7.

ExhibitB
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l'l"`or'ri':v'i`ew-wtu; submitted on November 3, 1998, when the determination served on August 21,
'1'99'8"'-infonnerl hit n of the option to submit o modified application within five daya, or_ 10 I¢Cl\lcsf
._u -ju_dge"s‘ review within seven. The administrative law judge held the overdue hearing request
'_'_`lt`=_&~him;witlnoutj irisdiction. and dismissed it Mie M”A>r'¢yff'armt; //;.<:, l999-.T.AE-001 (ALJ
` "` Novlz 1993). . _

  

.' `-'::.:. lli/iost admtnistretive bodies and courts treat regulations that set the time to tile a request
. ' " for n bearing or for review not as grants o‘l"jurisdiction, but as limitations periods that are subject _
inequitable tolling. 'l`he jurisdictional ruling was never subject to review within the Dep_arlmml
of T.abor because a presiding administrative law judge’s decision becomes the Secretary‘s linal
' ` l ordcrt 20_ C.l".R. § 655.112(2)(1)).13 The Adrninistrator has not argued that this hearing‘r¢quest
' `_ must be diamond for want er jurisdiction and t regard the jurisdictional holding n we
' '_/,a)rglcg' Far)m: ./.'rc. as an error. ' 1

. th:ther the failure to tile a timely request for s judge’s review is considered a
jurisdictional deliver or one that could be excused on a proper showiug, the Rcspondents have
failed to show that their late request for hearing should bo accepted,.

2. §landards A_n_plied in H-lB Mutters

The Secretary of Lubur adjudicates other matters arising under the bnmigrution Act’s
visa programs that provide useful authority by analogy. ' A.mong these are complaints that an
employer violated a labor condition application tire employer filed to obtain an ll-lB visa to
admit o nonimmigrant alien to work temporarily in a specialty or:cupution.14 8 U.S.C.A.
§§1101(3)(15)(1-1>(0(\>): llaz(n)(z) (west 2005); 20 c.F..R. § 655.310 (2006). Admirustrative
law judges have dismissed late requests for hearing under that program d/&a))zs; n dim/l C'c)w!
/!u/o ./izt'w'am:e sz')."el/`)zg //rc., 2006-LCA~8 (AL.l April 12, 2006) (dismiss'ing an H-lB
WOrk¢r’s untimely hearing request that sought lo challenge the Deparbr\ent’s calculation of the
amount he load been underpuid); U,,$I' qu 74/¢050)‘ u Wéez; /§r¢'., 2003-LCA-9 (AL.T March 25,
2003) (distnissin.g an lI-lB employers untimely hearing request that sought to review the
Departrr\enl’s determination that it underpaid its H-lB workers almost $81,000). Those
decisions did not discuss the circumstances in which a lute` request might be accepted, bowever.

 

y ‘_’ '_l`l\e contrary statement in the Ordor for l-`urli)er Bn`eling entered on Oet. 4, 2006 at pg. 1 was an er_rnr.
Tlae Adnumslmive leviow Board has ue jurisdiction to review this decision

_ “ A “specialty occupation” ia one that requires entry level empl¢>y¢°$l f° have mm`°d 3 body diligle
~\'P@G\alizbd lh=or€ticai and practical knowledge by corning a bacoelsureate or a more advanced dzgrd&. ll U.S.C.A»
§ ll_84(i)(l) [Wear 2005); 8 C.l-`.R. § 214.2(}\)(4)(iii)(A) (2006); 20 C.F.R. § 655.715 (2006). Archilecturc.
engin¢=l_'lng, .mlileriatics, physical scieneus, social sciences, medicine and health, cducation, business specialfif»$»
accounting law. lhrology. and the arts nrc ectmnples, 8 C.F.R. § 2l4.2(h)(4)(ii) (2006). 'l`he U.S. Citizenship and
immigration Servlc<=s component of the Department of Homeiand Security identities and defines the occupations
covered by the 111-13 category and determines whether the alien qualities to work in those occupations ll C.F.R.
§214.2(h)(4)[iv) (2006). "I'l'te Secretary ul" Lubor approves and alforces the labor condition applications the
employers must mul~.e to obtain l-l-lB visas for those workern. 20 C.F,R. § 65 5.705; §§ 655.800-855 (2006)_; 59 l-'ed.
R¢S- 55,646 (Dec. 2-), 1994).

v - 8 -.
_ Exhlbtt B
Nov-ao»zooe 11:32 202 693 5732M 99’/. P. 10

Case 2:07-CV-08428-ABC-RZ Documentl Filed12/3 7 .F!a' f5 J #:28
i.-=u-ruui rim nom-usurpioi _..ioR/osoL/sii_§_ 202-693§5/7?2 _@ezr@?§l §-_°_"'?°?igel 91

, ... _. ._._ _.

'l`he Adminisiraiive Review Boiird card reviews administrative law judge decisions
and issues final orders in H-lB matters on li]:ha.ll" l)i" the Secretary of liaboiz'~§_ 'l`lie;l§pi!_r¢l f§k¢-‘S
an exacting approach when requests for its review are llled late. lt dismissed -f_'oi'_‘_el_in_mpl¢{c fm
appeal from an administrative law judgc’s decision that an H-lB employer owed _six w':); ;rs/
about $80,000 wliun t'lic review petition arrived two days law lM/IIM?W/_@(_"__ 31 W/'A"" - _1¢’ ”
C'orp., ARB J.\lo. 0£3-090, AL.T No. 2004-LCA-30 (ARB .Tuly 22, 2005). .' ~

As it decides whether to accept untimely petitions, the Bosrcl appli'_iis the'domsnding
standards for equitable tolling tlie federal courts lisv_e developed in decisions suclias .5:¢£;,0/0/0;;;.]
(///Ie' 6701 ef/!!/enlaw/z v. Mari'ha/.( 657 I".Zd 16, 18 (ird Cir. 19_81). 'llie opinion',i.u_ h:;;'th`
emphasizes how simringly Article lIl courts dispense equitable relief. 'l"lie. l'iiird Circuitf n §
requirement that an employee complain to the Secretary o~i Lubiir within 30 dsys -q._ _aT€SE_
employment disci'imination, found in the whistleblower protection provision of_ ihe_ oxilc
Subsmccs Comml Act,i& is not jurisdictional and might lie extended toy equitable tollmg.bl,l`:
then reversed the Elecreta.iy’s decision that permitted a teacher to complain about how_lflS_Puth\b
employer totaled him, because he failed to present the matter to die Secretary within at
statutory 30-~day window. 'l'he teacher wanted to investigate personally `Whethcr ssbestos was
present in school buildings ori the district’s cnmpiiscs_. but was allowed tree access only'io tlie
campus where lie caught A state environmental resources agency had already investigated for
asbestos on other -:smpuses. The three acts of discrimination the teacher alleged (refusal in let
him main district buildings l"roely; questioning him about one of his lesson plans, allegedly is an
act cf retaliatory harassmcnt; and not allowing him to take a second day of paid leave For
personal convenience without giving a reason for his obsenco) all took place rio later then April
5. but he wolltedtc complain to the Department of Lubor until Mriy 29. As the court rejected the
S@¢l-'BUIY`S decision to` accept and to adjudicate the tardy compl_aint, it reminded tlic Secretary
that the i`°¢l“if¢ml¢nis for equitable tolling arc to bc f'scrupulously ohserved.” fd ali 19. To
Suc<>e¢d. the teacher held to fit within the principal situations the case law recognized were
justifications foruilling, which were than

(l) the district actively misled him about its rights to seek relief
ind er die Toxic Subscan.ccs Conniol Aci:, or

(2) lie had been prevented in annie extraordinary way from
asserting his rights, or

(3) he mistakenly had presented the precise statutory claim in a -
tim ely manner iii the wrong Forum.

 

" 'l`he Boird's jurisdiction is'sei iii Secretory‘s Order No. 1-2002. published iii 67 Fud. Reg. 64,272 (Oci~.
17, zooz).

‘° 15 U.S.C.A. § 2622(b) (West 1998). Short complaint periods arc found in several environmental
whistleblower pmtecti on statutes, including die sze Drinkiug Water Act, 42 U.S.C.A. § 300}-90) (Wesl; 2003); the
Waier Pollution Criiit:ol Aet. 33 U.S.C.A. § 1367 (Wesi 2001); chc 'l'mdo Subsumces Control Act, 15 U.S.C._A.
§2622 (West 199i); inc solid Wasie unpaid Acr, 42 u.s.c.A. § aim (wcir 2003); rim clean Air Arc, 42
U.S.C.A~ § 765'2 (W¢S\! 2003'): and the Cmiiprelicmive F.iivironmeutzil Rcspoiise, Coinpenssiiuo and liability Ac\,
42 iJ.s.C.A. § 9610(Wcst 1995), all of which si'e implemented or 29 CJ".R. § 24.l(a) end § 24.3(b) (2006'),

. 9 n '
Exhibit B
an_nn_').nm: 11:32 202 693 5732 93°/~» P-11

* l \`M| ¢v\l\-v \.¢.

CaSe 2:07-cV-08428-ABG-F%§Z Document 1 Filed 12/31/07 Page 27 of 55 Pape |P #:29
1140-2006 15:47 From-US DEPT OF taBOR/O$OL/ETL$ 202-693-5732 T-?5\ P.UlZ/OZ F' 01

._- ¢ . ~ ____

  
  
 

'l\lone applied Under the Mm'MA’ court’S aPl?'r°*“ihg whether the S°h°°.]' d‘shl‘§‘ `A;as
'*",`pr`ejudieed in defettding'the whistleblower claims was not 311 md§l”lldem f“°'t°’? .‘}.,W‘,’rie 223
~. ;.' ...'."_‘." e.-ealculus only if a traditional factor supporting cq\l\f*ibl“= fell-?f W°"° P""‘S"“t‘ h 1 d. met
. -'f;'=."".rej`écted;the Secretary‘s_erder that had extended the complaint Pe“°d bei"a“$° the S‘§l °° . m am

,i -.-did __n~°;_pi»°v.; that doing so would have prejudiced its defense somehow (e'.g., by > mww€th _

" `_.`~?mate`r.`tal.evidenee became unavailable because witnesses could no 1911ng be iOUi¢d, Of _@1£

' 'metitories'had fedrxi). j'd at 20. With a memory 30de li!¥`\ilaflm? P¢rl°d» Showmg,° °f_dmt ktm
`~ would he virtually impossible, so the whistleblower complaint period would be S“b.l¢““t 10 _““; ;;“
. cxtensicns. Certg\'ess had balanced the employees' right to file retehat\on G°mPl“l“cs agm f
- '.‘limited. time their employers “would be exposed to llability." 442! at 21. It.was not the Secrdtll’y d
' . role to strike another balance The court “set asido" the Secreter¥’s decision as en ectmnf§k;;lt
“in'"cxccss of statutory limitations,”' applying the j“di¢la' "°"'“"“' standards °f fha
' administrative procedure ace 5 U.s.c.A. § 706(2)(0) tWest 2005)-

Here, in a variation on Mar.riaA/!r theme, Congress insisted en expedited review m 8
U-S~C-A~ § 1133('>) (Wcst 2005). and the Secretary set the.nnmbcr of days for the pr;c:‘du;ul
steps in H-ZA matters through notice end comment rulemaking 1 believe that thc stan ute or
equitable tolling also ought to be used in deciding whether to accept this late hearing rcqucs .

Tl:tc Admi nistrative Revicw Board has come to regard the three A»/mt'ia// factors nn
nonexclusive ste equitable tolling is best conceived es having a fourtb, cnteh-elt}nf:ct§r that
permits the adjudicator to considcrany truly exceptional ctrcttrnstanees those' c o god
°n°°mPBSS` W//d.'~f' DM/a/ C’(/)y).,~.vzgora, ARB slip ep. at 4. This fourth lester is not app c
expansively,. hcwevcr. '

Thc claim by the lawyer for }%')4_4>.1' .D/,'g-v?a’/that itc couldn’t f_`lle on‘time because lie
suffered from n "‘;munding headache and fever” in the last days of the lihng period lcti: the Board
unmoved. The review petition itself wes dated two days before the due ,dat¢. 50 life BOHY¢I
reasoned than a lawyer well enough to draft it ought to have been able to fax i_t to Weshtngfon. f'>r
to contact the Bonrd to request nn enlargement of the filing timc. He did _netther. 'I'he leWYCf-"S
other nrgt.\rnenil that he thought he had 30 days £'om receipt of the adunm§ttat:tvc law judge s
decision to petition for revicw, was refuted by the decision’s “unambtgnous srate‘men_t\of the
8pr larry pazt:v] nust take to perfect its eppeal," which informed the parties that a petition for
review must be received by the [Board] within 30 calendar days of the date of the Dectaton end
Ordcr."" ./d itt El, fi. The Board held that ignorance ul" legal rights is no basis to tolle statute of
limitations. Neitlier the claim of illness nor the claim to have misunderstood the time available
to seek review presented an “extraordinary circumstance that excuse[d] Wings Digital’s failure
to timely tile its petition.” fd at S.

 

w Th‘" u-S~ S“F\’emn Court used similar language three years later when it lteld: “[a.]lthough absence el`
prejudice is a liictor m be considered in determining whether the doctrine of equitable telling should apply once a
factor that might justify such tolling ia identified lt is not an indepench basis for invoking the deettine end

sanctioning deviations timm established procedu\~es.“ £a/aw/z C'a /fi'/¢ame farm V£m)r”, 466 U.S. 147, 152
(1984).

Exlileit B

AAAAAAAAAAA A 1 .AA ’)I’X° EQQ R'7.QQ 98% P'12

Case 2:07-cV-08428-ABG-§Z Documentl Filed 12£§3¥% Pége 2|2_37@1° 5|5_0]§@9€},1|,'31#:30

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n so zone \s.ae mm us parr or _‘.ioR/oso_Ll/euu§w‘ _*N_`___'_?_m mm M.Mm._m,mm- Plz

3-. tande lied‘ Whis e owor Proroo 'o Mme _. '~f~'...;

o) Statutes related to transportation safety

 

'T'he Bem.'d has aflirmed an administrative law judge’s dismissol` j_oi".' whistleblower
protection claim a professional truck driver made under tire Surf`aeo Transporl'a_tion.z`:\ssistcnee
.¢\et18 when he waited almost 10 months to request a hearing. Each time O_SI-_IA informed him
that its investigruions found no merit to any of the three claims he filcd, he~"was_:to_ld he had 30
days to request a hearing. farmer v. .§iv;;f} Dmrpor/‘a)?'o)z Co., ARB No. 01-036,' ALI_No. 2001-
STA-i3 (ARB C‘ct. 2, 2001). That Aet states that "il\e complainant and the .p_e_x"son alleged to
have committed the violation may file objections to the findings or preliminary order [of` OSHA],
. . . and request n hearing on the record . . , . If a hearing is not requested within §Q days_. the
preliminary order is final and not subject to judicial revicw.“ 49 U.S.C.A. §31'105@)(2)_(!3)(\Vest
2005).19 'l°he administrative law judge found that the truck driver oifere_d ..no_;.reasons that
justified equitable tolling of his time co request a hecring, so all claims were dismissed )Hat 2.

'l`he Bonrd applies strictly the regulations that set short periods of 10 't"o_l$_ daYSz° to
petition for review when o whistleblower protection complaint involves an air `ean'ier. lo o
matter fled under the Wendeil H. Ford Aviatio,n investment and Refonn Aet,:i_`or.lhe 2lst
Cenl.ury,21 ca petition for review sent by overnight delivery that arrived in Washinglon_. D.C. one

- day late wes dismissed in part because the worker could have l`axed it to the Boc.rd on the due
date. /jéra&a,{.'u Ao;er;ka l//euY/J!rdr'//ei; jim, AR'B No. 03-057, ALJ No. 02-AIR-000l2, slip op.
et 6 (ARB May 23, 2003), rau a'é’))/Z'a,' 125 Fed. Appx. 102 (9th Cir. 2004) (unl;»ul:iliolied).12 'l'iie
Boerd’s “interna`. procedural rule” setting the short filing time was adopted “vo expedite the
administrative resolution of c:e_sos,"z_3 something equally true of the expedited iinal orders
administrative law judges issue for the Secretary in H-‘lA matters The worker in')%'rchailcd
to carry his burden, for the opposing party had not misled him', he had not filed mistakeniyin tire
wrong forum, and no extrao/'ai?rag/ event precluded a timely filing. /d al 6 (emphasis by the
Board). A. port;¢’s own negligence is not nn extraordinary circumstance that qualities for

 

_ " 49 u.s.o.A. §31005 (wen 1997).

. '° 'Hre Secrumry’a regulation essentially repeats cho Aot, saying than “[i]f no timely objection is filed with
respect co either the indings or the preliminary order [made by OSHA error investigating n »complaint], such
findings or pneliminary nrdor. as the case may be. shqu become final and nor subject to judicial review." 29 C.F.R.
§1978.105(!:)@) (2006).

"‘ Under an interim regulation the time to tile a peu'tiun l`o'r review in air carrier whistleblower mann had

' been l5 days from the dore of the administrative luw judge’s decisionl 67 Fed. Reg. 154$4 (Apr. 2, 2002). Tho

Secrmry’s final regulation now requires that a petition fox review bo filed within 10 business days. 29 C.F.R. §

i979.llO(o), 58 Fed. .Reg. l4100, 14106 (Mar. 21, 2003) (iinding that ten days “is sufficient time to petition for
review ofan AU deciuim"). '

" 49 u.s.c..\ § 42121 oven supp. zoos).

22 Tbu‘. Nim‘.li. Cireuir‘s unpublished decision affirming the Secretary is nor precedent .S&'e;‘. Ninth Cir. Rule
35'3_(11) (“Unpublisted dispoairluns and anders of this Court may nor be cited to cr used by thc counr of this
circum") and ryarzv. Marrmm,‘ 266 F.3d 1155, 1159 (Brir Cir. 2001) (applying die rao-citation rule).

13 Me'd)m’; ..~r/pr.z AR`B slip op. cr 4-5. l

Eirlrn>n B

umr...'m_o.nm: 1 1 :.QQ ' 202 693 5732 ,_ , 9@'/' P'13

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|l'\(\ I“J¢ l*r.d l*Q-v VJUJ |'|UV. du £-UW U»‘I~F'l‘\|l l A~J

lll`\d!l .\llll\-M \ll

"Squ`i`£ebll~._,witing. 111/moor cwa 2921=.3d iocs, 1067 &. n. 4 (9111 cir. 2002) (applying ne
~':':,stondards for equitable tolling to reject a habeas corpus matter under the Antiterrorism and
Effect.ive_Doail;lPena.lty Act oi" 1996, 28 U.S.C.A. § 2244(d)(1)(A)).

  
 
 

'b) - Statutes related to financial markets

' ' ‘ ~ ,-~ }`_.` `The` equitable tolling standard has been applied to dismiss en appeal under whistleblower
' protection provisions of the Sachanes-Oxlcy Aot.24 M)né')w z'. M/r‘a!adféyr/‘a/h/z£r G'raqa,
_ ARB No. (15-074, ALJ No. 2005-SOX-19. slip op. ot 5 (ARB .luly 29, 2005) (tinding the '
- .': ~ ._ inehility_.tc retain counsel is not nn extraordinary event that justified filing a review petition
. .n_e§u'ly two weeks latc; thc administrative law judge’s decision gave the unrepresean party
correct instruction about when n petition for review was duc).

c) Statutes related to nuclear end environmental protection

Thcnc rigorous equitable tolling standards have been applied under the nuclear and
environmental whistleblower protection stotutes,23 where a separate regulation25 also requires
that parties tile their petition for review with the Bosrd within 10 days of the date of
administrative law judge’s dccision. J'e€ e:¢r;r D:/))mw 2 hr'/ Hother/iaoda/`!PJM/MC LFW/
03’6! A.RB No. 021-099, ALJ No. 2001-ERA-6 (ARB Aug. 27, 2002). WH.¢M mm Dw)/aw 14
MS! 0er .'_/fi{a¢ir)r, No. 02-73020 (9th Cir. 2003) (unpublished) (rojecting o late petition in a
proceeding brought under the Energy Reorganizetion Act); flew/way v. Mr//:cccr/ U/i’)'/??,
ARB No. 00-074, ALJ Nos. 99-ERA»14 & 15, slip op. a,t 4-5 (ARB Attg. 31, 2000) (similarly
rejecting a petirio n for review nled in_ a Energy Reorganizetion Aet matter 15 weeks out oftime);
and Du¢vmr u liirc'm»v/€n!o /M:vm /.Il)' ,Qt.'a/."g) 1141/mt ./)/3'£_, ARB No. 99~01, ALI No. 97-CAA~
121 (AR.B Sop-t. l. 1999) (accepting o late petition for review in a proceeding under till3 Clef-m
Air Act that theme re party had filed on time, at the Ofiicc ofthe Chief Administrativc Law
lodge rather than at the Bonrd); 611/ferrer V. ltqu oft/te Mr/ner.o’.g/ r)j`(."a/_)/'f)r)/!a, A.RB Case
No_. 99-116.,AL.1 Case No. 98-ERA¢19; Order Accepting Petition for Revicw and Estahlishing
Bneting S¢_:hedu]e (ARB Nov, 8, 1999) (accopting a review petition in a proceeding under the
Emng Re?fga“iwtimi A.ct filed by a party represented by counsel on timc, but also at the Ofiicc
of the Chief Ad ministrativc Law Judge). Pet'itions for review of whistleblower protection
decisions under the Pipeline Safety improvement Act27 must be filed within 10 days as well. 29
C.F.R. § 1981.11<)(:1) (2006).

"‘ la u.S.c. o. § is l4A (wm supp. 2005).

25 .' . . . l
Thcso include whistleblower retaliation claims made under the smt\\rcs listed in footnote 16_, .r¢//w, and
the Er_\ergy lie organization Act, 42 U.S.C.A.§ 585} (Wcsc Supp. 2005).

211
29 C.F.lL §_24.B(u) (2006), which reads: “[n]ny party desiring to seek review, including judicial revl¢w,
of a.recommended decision cf the administrative law j edge shall tile a petition for review with the Admlnistoclve
Rcvicw Boartl ("\ll\e Boarcl“), which has been delegated the authority to act for the Secretary and irene tinal
decisions under tlut ram '.l`o be effective such apctition most lie received in/`/z few dar/marr lujo'of tile date of the
rccomn_'iendcd decision of the adounistmtive law judge, and shall be served on all parties and on the Chief
Admimstrative l.aw Judge. (emphasis supplicd).

27 49 lu.s.c~t. § 60129 oven supp. zons).

E>ili'll’>it B -

nn\r_on_'znne 11:34 202 693 5732” 98°/. P-14

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._ \1-30-29§6 15=49 From-usosptoFt ;R/osoL/ETL-s e tl F'|eqoi~§l§i{W Pag‘?e §prl’_"$fls@aiqe`m §:32

- ‘v n W~¢-¢

4- A licdinDavi‘-Bac .-. .._

Equiwble tolling has been applied under thc Davis-Bncon Act28 to permit~`a'._la'te review
petition when the administrative law judgc's decision misinformed the panics‘ about the time
available to lillc it. 152 re Di-G'em M//a'c'r.t‘, ARB No. 99-117, ALJ No. l998~DBifA_jl7, slip np. at
4-5 (ARB Nov. 22, 1999). 'l`hc substant've portion of the trial decision had required alccntmctor
10 pay back wages to employees and debarred lt from future gevcmment:_.conn'ac_nng. Tho
Board’s procedural ruling was a variation on the typical requirement t'or cquits'.h'lc'-tolllng, that
the opponent affirmatively mislead the party about his or her rights. 'l`he decision-to~=§c!j¢l>f the
appeal exemplifies the catch-all fourth factor that the Board articulated more-clearly m its later
decision in Ad'/})£vir/)wbr is W;`,vgr D/' /Ya/ pr., ARB No. 05»090, Al.l.No. ZOQH.CA-BO
(ARB July 212, 20 05), discussed above. intimately tbe'paxtics in 7}'/'-6'2))/ M?d_c_r.r §cttl_ed, so
the Board issued no decision on the merits. Thc Admiuistrator’s Detecmination Notice delivered
to these Re:\pondcnts was not misleading_, however, so the basis for tolling D/~G‘em. M/l'dl'):r

miculatod would not apply in thom.

Thc Boarcl did accept a review petition in a Davis-Bacon Act matter 'tlmt was filed three
days law because the lawyer miscalculated the doc date when he added thc fvo d`ays`l`or milling
that the procedural rules of the Offl ce of Administxative Law Judges audlorize. Wfarfawbg
r£ ./l/aie)v'd/u; ARB No. 99-065, ALI No. l.998-DBA-ll (ARB Sept'. 3, 1999).~ Tl\ose rules for
thc trial level do not apply before the Board. Thc Bom¢d seemed to have been impressed that-the
review petition would have been filed two days early il` thc way the lawyer computed time had
been correct, lit decided that the litigant had not “slcpt on his rightc," and that the Department
has not been '_pmjudiccd. 'l`he Baard never latentioned that the administrative law judge’s

. decision had c_orrc:ctly stated the procedure to obtain rcvicw, something it emphasized in its more
recent M/M%m; ,W)‘//go- D/;»;'/?a/ Ca);p., hfeméa,£ }/em'))gu'ajz and ]'awrcr decisions_~discussed
above. Evidencc that a party was informed correctly about how to protect his-or her rights
affects whether the failure to take those steps will be l"orgivcn, even when thc party 'acts only a
l"ow days le.tc. .!Zee £a/dw'/) (."oz.wg/ life/coyle (.})/r. 11 .6’/'0;¢/)1, 466 U.S. 147 (1984) (dcnying
equitable tolling for a Titlc Vll claim and explaining that “[o]nc who fails to act diligently ¢fm!\°l‘
invoke equitable ininoiplcs to excuse that lack of diligencc, ” id at 15 l).

.Q .Sh wdarad'/s‘ga/)le'a’£/mi'r federalPmc)/r€me/zt»/?e/a/ed.!?céw'me/z/ Prong

The Admlnistrator imposed n prospective refusal to accept temporary alien agricultural
labor certifications from the R.ospondcnts for three ycars. something analogous to procurement-
rclated dehzumcncs. '.l.`he federal government has well~estnhlished processes to make businesses
and individuals ineligible for procurement contracts or nonproouremcnt programs.l° Debarment
reduces the harm the government suffers by continuing to dc business with entities or individuals

 

_ »v

*” 40 U.s.C.A. §27ca ¢/iug. (west zoo l).

w lt might also he viewed as a situation where the judge “led the [claixnant] to believe tim {hc] had done
everything roquired,' which ju.-:titics lolllng. 170/drill C'a. /f’e/¢.'a/)re €am v. 3mqu 466 U.S. 147, l§l (1984).

“° Ncmprocurcmcnt programs include federal financial and non-financial nuisance and benefits such aa
§¥B!\fs, =°°P°Wliv¢ hyacments. .seholurships, fellowships, contracts of assiscnnee, louue, leon guarantocs, subcldies,
msurance, payments Fcr speciEed use, and donation ngrecments.

- 3-:
ExlnbltB
“’“’-°"-"`nn“ 11=-'44 202 693 5732,"n 96°/. P.l§

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.wh`o bove shown themselves to be unethical or incompetent dye gene/nfl . 6'¢1/‘0/4 v. L’/J_rro//,
&5‘-]»'.[".2¢! 35\5, 399 (D.C. Cir. 1988). Those suspended or debarred nrc added to the List of
T`n'rtié"s` B)`ccluded from chcral Procurement and Nonprocurement Programs §EPLS) that the
" :._ ~. '-..'~Genéral Services Adminiso~ation publishes at blm:j/cpls/arnctM. Tho substantive standards 'l"or
` '-. suspension and dobarmcnt under procurement and nonprocurcmcnf Program diffo mm “\°5°
' - ~ "'.-`-~?' theAdministz-amr relied ou in this Doterminotion and Notloe. I asked the parties to research l\ow
- ` ' federal agencies have treated untimely responses to suspension5 debarment or exclusion notices.
""Th'csc decisions have not proven to be particularly hclpi'ul, unfortunately

~

. '.4‘ ,F

L _EP;!_\.

' _".' Thc EPA requires nn entity that receives o debarment notice to file a petition challenging
"lhé basis 'l`c\r than adverse action within 30~ days. 40 C.F.R. § 32.820(a) (2006); 40 C.l:`.R.
§ 32.313 (1996).3 lt nevertheless allowed a contractor to participate in a debarment proceeding:
when its lawyer liled a late response to the debarment noticc. jr //l's /l/a//er r_)f .Da)m}/.r
' C'z/.¢raa?'a/ chris .h¢‘., EPA Casc No. 93-0261-00. 1997 EPADEBAR ll, at_*$-*¢l_ (Junc 244,
1997)- A second notice of proposed debarment was served on the contractor when it sppesrcd
that the EPA’:) original notice likely hud omitted an important document dmt.cxplsme_d the
factual basis for the dob`annent - the agency’s Aen'on Request Memorandum. Tho timely
hearing request lie contractor liled inresponse to the second notice mooted the timeliness issuc.
Uliimat¢l§' il thr¢'=~y€or govcnuncnt-udde debarment was imposed based on the guilty plea the
contractor bind entered to the crime of improper disposal o'f hazardous waste The notice the
Administrutor sort the Respondents here was not delicient, so the EPA decision adds nothing to
the analysis

The decision in h M.».’ /l//fa.'!er q/t" C?)))z/)mrm/ead'// lamm/orion h¢;. EPA Cnse No. 94-
005 9-01, 1995 EI'ADEBAR LEXl'S 10 (Aug. 24, `l995) involves no late request for a horningm so
it is not relevant The appellate authority within the EPA entertained the agency’s untimely
request to reconsider the length of the debarment imposed at the trial level.

 

 

:" Entirled L‘ipportuui¢y to contest proposed deburll\cnt, it rend:

(aj Submission in opposition Within 30 days after receipt ot' the notice cf proposed
debarment the respondent may submii, in person, in writing, or through a rcprnscntstivo,
mf¢mnau'un and argument in opposition to the proposed debarment

y (1) lt' the respondent claims a hesring, it shall submit a written request to the deeming
oBic\nl within the BQ-day period following receipt ol"thc notice ot` proposed debarment

(Z) [Rcserved]

(h) Additional proceedings as to disputed material mrs (l) in actions not based upon
n conviction or civil judgment if die debam`ng official tinds that the respondents submission in
opposition raises n genuine dispute over facts material to the proposed debarment mspoudcnr(s)
shall be offended an opportunity to appear with a representative submit documentary cvidcncc,
present witnesses and confront any witness tire agency presents

_14-
ExhibitB
Nov-30-2006 11:35 202 693 5732 ee'/. P.16

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Case 2:07-cv-08428-ABG-RZ D '
ocumentl Fl|edz_]e§!_i§?'|a/zO? Pa§

u-ao-zooe 15=50 me-us part oF treat/osweth zo et?@t in$o$t/o&agoonDu#:SA.

c du annum HJO~J~/r\l| la

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2. lloth of Agg` culture

'l`lte Deparlment of Agrieulturc permitted a respondent additional lirhe".-"to=‘respond to a
debarment notice aiier the 550-day period to do so had expired h rex hart ,C _!k)gb-l/£’/z 56
Agrie. Dec. 73l, 1997 USDA LEXlS 82 (Apr. 17, 1997). Two notices ~'o`f'.`jlhe;pr¢ycs°d
debarment sent by certified mail hud been returned unclaimed 'l`ho reviewixtg-'.adxninistr'etive law
judge found that the agency should also have sent another notice by regulqr~mcil,;-l)ecause the
agency knew the respondent “wns receiving mail at its last known eddie.~t"s." fl_'a:',‘i_'at *4. 'l`hc
T°SP°N]°!!¢ 3150 had requested an opportunity to respond promptly alter it accidentally learned of
the debarment proceeding in the course of a bankruptcy proceeding ‘eefore‘.'-the debarment
became linol. liere the Adminisuntive Record shows, and the Rcspondonts do not deny, that
they received the Dcterminatiou Notice by certified mail. They then failod.i.to exercise due
diligence in respcnding to it. . ;-. -. :

/r me swearde marmon/mw wiernr¢/'MM/Msroffer/hawk

Courts may vacate clerk‘s dcfaults, and judgments entered on defaults, under the
generous standards set in Rulcs SS(o) and 60(b) (l)--(G). lied R, Civ. P. They encompcss “gcod
cruise,“ “nt-istalco inadvertence, surprlsc, or excusable negleet,” or “any other reason justifying
relief from the operation ol'lhe judgment [enter_ed on the del`aull].“ '.

'l'he failure to respond to a l)etemxinntion Notice bears a superficial resemblance to a
failure to respond to n summons and completing but is more analogous to a failure to tile a
complaint within the statute of limitations Eq_uitnblc tolling governs the period in which tc file a
cause of notion, to request a hearing or to apply for review, while standards such us “good causc”
characteristically apply to deadlines that arise within the course of proceedings that were
initiated within the prescribed time. l`nthe alternative agencies arc free to sdopt procedural rules
and to enforce them slriotly, so long as the rules are applied uniformly or exceptions am made
only for good rersons the agency articulates drew C’r/u)r//;v.d!oé!/¢jp.»io)ze n .FC'C,' -765 F.Zd 235 ,
237 (D.C.Cir. l‘i 85). Agencies are not required to import their standards from Rulcs 55 or 60,

Fed. R. Civ. P.

lt is a mistake to regard equitable tolling as just one more manifestation of the general
authority courts and administrative agencies enjoy “to relax or modify [thcir] procedural rules
adopted for the orderly transaction of business before [them] when,~ in n given case, thc ends of
justice require it.” dme/ims Fdr))z liver n A‘/ac‘# £a//Rle/»'/ r$'e'rw‘csu; 397 U.S. 532 (]970)¢
No Eling deadline to initiate a proceeding was involved in that case, where nn applicant was
seeking authority to operate a temporary shipping route °l`he unserved shipper was the
Department of De'l’ense, which urgently required the services The Supreme Court approved the
ICC's decision co relieve the applicant from a requirement in the Commission’s rulcs that
applications state the dates motor carriers with existing routes declined shipping requests 'l`he
application from the potential new shipper contained enough detailed information that existing
carriers had been able to file lengthy, precise and informed objections with the Commission.
The hearing request st issue here is a very different and uniquely time-sensitive type of illing.

Exhil§it'B
» -- om. 393 15'?32n ` 99% P-i'?

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The courts of appeals routinely affirm strict application of liling deadlines agency
" `- '_ _ ._'regulations' impos-:, so long as they are applied consistently Thc Respcndents do not argue that
_ 5 ’ the Secretary ofLabor enforces hearing request deadlines hcphazsrdly.

 

.- :_ Thc D C. Circuit recently upheld the U. S Copyrlght O'l'licc's strict interpretation of' rts
'regulations that require copyright owners to tile claims each luly, to obtain a proportionate share
' ' of royalties cable and satellite broadcasters pay into a fund that Ofliec administers I/h)i/.er.ra/ '
- 670 Mas; l.'£/’ 1'. !’erm; 402 F.$d 1238 (D. C Cir. 2005). Under the regulations timely
. claims are ones that (1) the O£riee receives during Iuly; (2) the Glice receives through the Postal
" Service on Augu_st l; or (3) the Oftice receives through the Pcstal Service on or alter August 2 if
. they bear a .luly United Statcs Postal Service mark (a) on the envelope or (h_) on a certified mail
.rccei.pt. For claims the Ofl`ice receives after July 31 the regulation says that dates printed on
envelopes by bus ness postage meters do not qualify. 37 C. F ..R §252. 4(0) (2001) COnyiBm
owners who could not_produce a stamped postal receipt showing that their alaims, which the
Copyright leiice received after August l, had been mailed 111 July were denied any share in that
year s royalties I‘hc court of appeals upheld the agency' s retlusal to accept sworn statements
from the employees responsible for mailing the royalty claims as proof they had mailed them on `
~~Tvl¥ 30 20(|1, or declarations from Postal Service employees to prove that the normal delivery
lime for a letter trent from southern Califomia lo Washiugton, D C. is three°z to live daysl H~\'
evidence that their late-rcceivcd claims had been posted in .luly. The court also uphold thc
ugcncy’s decision that there was no “special or unique circumstance . . . that would War!ml: a
waiver "` o'|" the regulation’s requirements which the copyright owners had requested /rz' at
1240. The lJ.C. Circuit held that an “agency's strict construction of a general rule in the face ol"
waiver requests irl insufficient evidence of an abuse of discretion” (/‘d ar 1242), relying on the
judicial review standards found 1n the Administrative Procedure Act, 5 U. S. C. § 706(2)(A) and
0))1)1._1)2/)1')1/ Ca)/z 1: WC,' 213 F. 3d 720, 723 (D. C. Cir. 2000).

'I'lic Tond1 Circuit upheld the Federal Labor Relations Authority’s right to reject
objections 110 an administrative law judgc’s decision that were not sent to the address the
Authority‘s regulations designated a requirement that the trial judge’s decision repeated ’l`he
rejection ol` the exceptions had the additional effect of depriving the Court Of appeals cf
jurisdiction to consider the substantive error the exceptions sought to raise. “[’I'_]he general rule
is well established that reviewing courts will not overturn an agench strict application of its
own procedural regulations so long as the rule is applied uniformly or with reasoned
distinctlon.s.” i??zle'n.'{/`r/brcc ¢?are 1/. FMZ 321 F.Jd 1242, 1247 (10th Cir. 2002).

'l`he Ninth Circuit found that the National 'l"ransportation Safety Board (N'l'SB) did not
act arbitrarily nnc`. capriciously when it strictly applied its filing deadlines GI'YJe/t 1'. /VZ)"E,’ 80
F.Sd 364 (‘.lth C:.r. 1996). The NTSB had dismissed an appeal from an administrative law
judge’s decision upholding the l"AA's 90-day suspension of a commercial pilot‘s license for
careless or reckless t`|ying. The pilot"s brief to the NTSB was served out of time. due to

 

” Tne oni:e likewise rejected evidence nom au experiment iu which 100 letters were posted nom
southern Califomia o wasnmgron. Ncae arrived in fewer man three tlcys, suggesting that c claim nw Ofll¢¢
received on Augu.st§ must have boon mailed by Iuly$l.

-15-

' Exhibua
NOV-SO-ZOOB 11:36 202 693 5732 98’/. P.16

Case 2:07-cV-08428-ABG-RZ Document 1 Filed 12/31/07 P'ét`g;e 34 of BBoiglz>OzitpeFl|jR‘#-;;>,@
ll-30-2008 15:51 From-U$ DEPT Ol- ..)\BOR/OSOL/ETLS 202-693-5732 .'__._:l-`(Sl P. ‘ m

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-' l"!.
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problems his lawyer encountered in printing it. ‘l’he lawyer neglected to serve a~ request for an
extension of time before the time to serve the pilot’s brief expired (which he`.could'ha.\'le.\§'t‘itten
in longhand and mailed the day the brief was due)_. or when he Elcd the late hri`ef~_`nt th'c NTSB.
Like these Resprmdents, the lawyer merely filed the document lnte. When__the _FA_A challenged
the late ftling, tl-.e pilot argued that his delay had not prejudiced the I"AA.`-~- '1-'hc`_Ninth' Circuit
found no due process violation in the N'l'SB's dismissel; the court denied:~the pilot’;s'- petition to
review the NTSB’s inding that the pilot had failed to show good cruise33 for,lii§`_j-feilur'e` tc serve
on extension motion within the time available to tile the bricf. fed at 368. ` ' ` "

6.' .é§rz//?able M/&bg 127 MeA/!,¢t/.é L`flh_iw?

Accordlin;;, to the Ninth Circuit, the doctrine of equitable tolling excuses .-.o_ .c_laimanr’s
'l"vil“r¢ w comply With time limitations when he or she “had neither actual nei“cohstructive notice
or the filing p.:ri.>d." harm v, z/..r mm q/.r/a/¢~, 105 F.3d 548, 551 our cir.~ 1997). lanier
also requires that the claimant act with “all due diligence” to preserve his or her cause of action
rfca/aA/w')'a V. }'aei;`¢ £e//_. 202 F,3d 117-0, 1175 (9th Cir. 2000) (rejectlng a claim for equitable
tolling in a claim for invidious disability discrimination). ` , ' .? : -` ' - ;

The court cflirmed a summary judgment against a U.S. Postal Service employee who
tiled suit claiming that she wes terminated in retaliation for complaining to her supervisors about
sexual harassment by co-worlccr's. ./o/)mar) lt fat'rzder.m)g 314 F.3cl 409 (9th Cir. 2002). Ilet' '
Title Vil notion was dismissed because she had failed to exhaust administrative remedies within
the ngency_. and failed to show her late iilings witmn the agency qualified for equitable tolling
A federal =-\!113103’¢¢ Wh° believes she has been subjected to sexual harassment must contact an
EEO counselor with a request for counseling within 45 days ot` the discriminatory evenl. 29
C.F.R., § 1614.105(a) (2006)._ Therenftcr she must tile n formal complaint with the agency after

- She receives a. “right to file letter” from the agency. 29 C.F.R.. § 1614.106 (2006); sur d/.t'o
jimmy v. G'e//. olPrz/zh.er/Iai)z/)z, 425 U.S. 820 (1976). in her .luno 24, 2000 written request for
EED counselings Ms. Johnson gave August 8, 1999 as the harassment date ('i.`nr more than 45
days before her J'equest), although elsewhere she said it happened on October 12, 1999 (also
more than 45 days before her requost).' The Postal Service responded to her counseling request
with a certified letter mailed to her horne, for which it obtained a signed receipt showing delivery
on August sl, 2000. The letter told her she had 15 days itt which to tile a formal EEO complaint
with the agency By that time she also had retained a lawyer. Her EEO complaint was not filed
with the Potztnl Service until September 8_. 2000, once again out oi’h'me.

Ms. Jehns on professed she knew nothing of the 415-day requirement to seek counseling a
claim the rnegistcute judge rejected because employees were put on notice of the required
procedures by posters displayed at the work site, and by a “T.earner’s Worlcboo " given to new
Postal Service employees that contained a chart setting out the time required to perfect each step
in an BEO complaint /z.¢' at 415. The certified mail receipt proved the notice telling her when

 

” Tho dominion does not discuss why the agency chose to adoptive “gccd cnrse“ standard as its test rather
than some enter cne. Bur the agency hud announced in an earlier adjudication that it would dismiss anyoppcnl
when a party fiallcd to tile a timely notice of appesl, appellate hrlef, or request for an extension (/!dwz')/AMM v.
fhwa 6 N.'I`.S.B. 5 59 (1988)), end there was no proof that the agency enforced that policy inconsist:entiy. 0'/76¢0'/,
80 F.3d at 368.

- 17.-.
Exhtbtt B
-_ one noo' r:'?':') 98% p.l.g

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. nn nu. ~-v¢~¢ l-v-» nuqu wave ~DQ dumb oviobl°il'l l"l`.',

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.'j any formal complaint was due had been delivered to her residence The instruction in the letter
wa_s;nn_t crucial, l‘\owevcr, for she was represented by a lawyer who should not have needed that
pigompting. /'a'a1:417. Becanse she missed multiple deadlines, each of which wcrc`dispositive,
her-claim was dis missed., `

_ Thf-=§¢ Rcspondents had written instructions _ on how to request _a hearing in the

'-. ‘* Dotennination Notice, and had legal counsel within the organtza` tiOD, Wh° ¢V¢’mmlly responded

. on their bclhulzi'. They failed to act diligently when they waited for eight days to serve their
_'response to a noticc.that required action within seven days of the date it had been issued.

E noia ronnie/m guarny 5g1/earle ra///,,g

_ Thosc who apply for temporary foreign agricultural labor ccrtitications movein en
environment of short deadlines for the applicant and the agency._ Thc appliccrn’s business
practices must accommodate the S-day response times available to modify a certification
application. 'l`lv.e Administxator’s Determinotion Notice was properly addressed to familiar
agency customcr¢'. that employ experienced sta'li` cotmsel, and instructed the Respondents on how
to request a hcaring. They recently .and successfully had requested n hearing on another
debarment matter (t.hc .l-lawaii debarment proceeding) in a timely fashion 'Deiivering the
Detennination Notice by certified mail emphasized that it required prompt attention

The arrival of the Dcterminalicn Notice on the last day to request a hearing was an
extraordinary circumstance justifying a prompt request to extend the lime to serve the
Respondents’ rccuest for a ah nom hoering. No evidence had to be gathered or arguments
dcvclopcd; it vvat. enough t`or the Rcspondcnts to write n letter identifying themselvcs, ask for a
hearing, date it, sign it and mail cr even fax_ it. lt easily could have accompanied any motion to
extend their time to request a hcaring. But the Rcspondents neither requested an extension nor
acknowledged that they filed their hearing request late. Evcn if they thought.they had seven days
'l`rom the de.tc they received the Dcterminatinn Notice - something inconsistent with the notice
itself, and 20 C.F.R. § 655.110(a) -thei.r response was tuttirncly.

'I'he Rcspondcnts hnvc failed to offer any satisfactory explanation for their delay in
responding to the noticc. Their declarations struggle to put the best face nn their negligence
Attcr eight days they realized they needed to reply, and sent their responss, when it was too latc.
A_R l. '1`h<:_fecctn required to qualify for equitable tollingr are absent Tlte Administrator did
nothing to mislead them, no extraordinary circumstance lccpt them from replying to the
Determinetion Notice until eight days after they received it. and they had not filed their hearing
request on lime in some Wcong plsoe. /llmr/ia/Z .r;¢,w'a', 657 F.2d at 18; nrc aka £a/ai¢/)'))' 001/agr
ffc/come C'!n V. .d‘rowrr, 446 U.S. 147, 151 (1984) (dismissing the Title Vll action a that pro re
party attempted m initiate by filing her “right to sue” letter in district court. She had been
informed sc~e\nl times ol' the date her complaint had to be filod, but she 'l`ailcd to followthose
instructions. Th-: Court held she was not entitled to equitable tolling because she failed to
exercise due diligence).

. Enlii>nB
\\v/\‘v nn Af\hl'_‘ 11¢£1 202 693 6732,` 390/0 P'Ol

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l`NU|`l ll'"'|L~l or I'HA |‘ll_l~ ~‘M.'J"I‘**O’°D.>OD ,¢W\ via _¢=UUP U.Ul~)o|'\l`l l'°du

 

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Disr\nis:¢al is a harsh cesu.\t, but no more so than the results in £a/a$¢/)h-`:_C'_o'f)ug{_/f/é/¢o_llle
Ce/)!e/" and ./a/irzm)z z .Aé'm/emr))z,”whcm the plaintiffs lost their oppommity-.w.~. present Txtle
VII claims; in Um'wmwl 6'1},‘;).5724‘£"41;""' where the copyright holders lost mcil_;=anuuzx_l ghaw in rig
common royalty fund; in GYJ€/f 14 /VZ‘SR”'whzre the pilot lost his oppor'tunity tp‘~agpoal bls
license suapensi¢»n; in k the many cases where_ litigants lost their right- to` _.review‘ by the
Administra1ive R'.=»view Boa:d due to their delay in fsling petitions for rcview;"or'in J_M'k' legg/ay
iam /m'.“ whom farmer iost the opportunity lo use temporary foreign ag§icuii§m_wockcrs.

' ORDER

The roqucm for hearing is dismissed This dismissal mak¢s the Ds`}'mrln\{ent’s July 27,
2006 Dewrminar.ion and Norice 01" Prospectivc Denial of Temporary Ali¢a_nbA,grxc_u§qual Labor
Certix'icatio.n for '.l`hree Years the Secretary of Labor’s fmal_ order. - ' .

William Dorsey
Administrntive l'»aw .Tuxige

' ~='..

Nntice: This D¢cieion and O.rder constitutes the final order ofme Secretary of Labor, 20
C.F.R. § 655.112(\:)(2) (2006). '

 

“‘456 u.s. 147, 151 (1984).

3~‘ ./Mm// »¢_ HM/Mm 314 md 409 (th cir. 2002).

“ dq/wr¢¢-/mdag up n rem 402 F.ad 1232 (o.c. cir. 2005).
” mann m so md 364 (th cir\ 1596).
‘“Juzf¢-,m;g/ey/'Wm /m~., 1999.TAE»001 mm Nov. 13, 1993).

.19.
J§§xhibitB
Nov-30-2006 11=42 _ 202 6935 2 ae'/. P.oz

Case 2: 07- -C\/- -08428- ABG- R`Z Document 1 Filed 12/3

v \\-30-2006 15: 57

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SERVICE SEEET

:j`. 3'Docume1ntTit\e: Decisi¢m and Order Dism£ssing Un¢ime!y Request fm- Hearing

_. _ I hereby certify that a copy ofthe ava
' t tlns 30th day cf November, 2006:

,;Z,
._>m 3

`MAE WONG
j.F.GAI. Ass,rsTANT

Barbara .tv.lacmeus, Bsq.

Norman Gmrcia, lqu.

Odice ofthe Sob citor/USD OT.

71 Stavcmon St.. Suiie 1110

San Fr¢mc\sco, CA 94105
,HHMHCsz-AH¢N%rAHQQ

Global Horizons Mnnpower, Inc.
Mord echei Orian, Presid eat

10474 Santa Mo\\icu Blvd., Suito 403
Los Angeles, CA. 90025

/HM £'w - fry/anme

Denn A Rocco, I!sq.
Miz,niy Nmrlck. Bsq.
.!vckscm Lowin, I¢LF
725 S, Fi;;ueroa St.,' Su€m 2500
Los Angeles, CA 90017
/)%rd (.'r),q)l - fep/ar /¢/0/'//

Adminiscs~atar

Office of Foreign Labor C¢nifioacion
U.S. Depnmnem. of Labor/E’l`A
Room C-4312, H’B

200 Cnnstilulion Avc., N.W.
Washingmn, DC 20210

-_--. -A AAA)` AA.AA

c-cefc!enccd document was sent to the following

Co\\nsel for L.hlgatlon
U. S. Depomnent of Labor, Divislon of
Employment and Training Lega.\ Services
Room 151-2101, PPB
200 C¢mstilu!ion Avc., N. W.
Washingl'on, DC 20210

/Hdra'é'qo}/ - Fm;'

Regional Administrator

U. S. Departman of Laboc/E'l`A

Suite 830

71 Suevcnson Street

F.O. Box 193767

San Francisco, CA 94\ 19-3767
;Wdrd€a/av- Fe,;’x//ar Md!'//

U. S. Citizenship and Immigratlcm Serviccs
Director, OB.`loe of Progmms & kegulations
l H Massachue:etts Ave., N.W.
'\`hlrd Floor
Washingmn. Dc 20529

/]/ard€qay - .A‘g‘are,¢'.¢ MZ»/!B‘/}

Exhibit B

202 693 5732, 962 P.03

Case 2:O7-cV-08428-ABG-R;____D_Qggment 1 Filed 12¢31£)?2 Pétgte 38-15&55.025?&0€1{90#:40

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¢ . \ .
‘ U.S. Department Of Lilbor Employment and Training Adminisrration
200 Constitution Avenue. N.W.
Washington. D.C. 20210

 

JUL 27 2006
cER'nFrED MA\\.
To: Global Horizons Manpower, lnc. cERTlFlEo MA\L, RETuRN REcElPT
Attn:_ Mordechai 0rian REQUESTED: Receipt#70001530000385797511

11 111 Santa Nlonica Bivd.. Suite 1440
Los Angeles, C:A 90025

To: Mordechai Orian CERTlFlED MAlL. RETURN RECElPT
c/o Global Horizons Manpower, inc REQlJESTED: Rewiptg]ggg___tsm;gg__M§Z§Y_
111 11 Santa l\.lonica B!vd., Suite 1440 '

Los Angeles, CA 90025

Subject: Department of Labor‘s Detennination and Notice of Prospective Denial of
Tempnrary Alien Agricultural Labor Certification for Three Years

Dear Employers:

An investigation of your operations relating to the employment of agricultural workers has
disclosed multiple substantial violations in Califomia for the H-2A labor certitication
application that covered the period from August 1, 2003, to Apri| 30, 2004, underthe
lmmigration and Nationality Act (lNA) , as amended by the lmmigration Reform and Control
Act (lRCA) (8 U.S.C'». §§ 1101 (a)(15)(H)(ii)(a), 1184(0) & 1186), and under the implementing
regulations for these Acts. As a result of this investigation and pursuant to

20 C.F.R. § 655.'|10(a). the Oftice of Foreign Labor Certification in the Employment and
Training Administration (ETA) has determined that any H-2A labor certification application
filed by either Global Horizons Manpower, lnc., also known as Global Horizons, lnc. (Global)
or Mordechai Grian (Orian) will be denied for the next three years. l have concluded that
Global and/or Orian made fraudulent and/or willful misrepresentations with respect to their
labor certification application and that these actions constitute a "substantial violation “as
defined in 20 C.F.R'. § 655.110(9)(1)(1)(E). More specifically:

~ Global and Orian knowingly provided false information regarding agricultural work to be
performed in Califomia under the labor certification application requested for the
August 1‘, 12003, to Apri| 30, 2004, time period. This application sought certihcationfor 200
workers, when neither the agricultural work nor the contractual relationship with Talt
Vegetable Fanrs, which was the basis forthe application, ever existed `

» Global ancl Orian also knowingly provided false information regarding the termination of
the employment of U.S. workers They represented to governmental agencies that the
employment ct U.S. workers was terminated for poor performance when, in fact, the
workers were terminated for reasons other than for cause.

_ _ ' n . . B
NOV 30 2008 11.42 202 693 B'IFESXZhlblt 96‘/. P 04

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~.--

This letter and actior address only the violations based on fraud and/or misrepresentation
Should violations for this certification be found on other grounds, separate action may be
taken at a later date.

This determination is addressed to each person or tirm'shown above as being an addressee
of this Detem'\inatior. and Notice. This action is taken on a joint and several basis, which
means that each addressee of this Determination and Notice is subject to a denial action.
Any request for review of this Determination will act as a request for review only by the
person or firm that s ubmits that request unless it is expressly stated otherwise in the request

' for review itselt.

Each addresses hart the right to request an expedited administrative review or a de novo
hearing of this Deterrnination before a United States Department of Labor Administrative Law
Judge. lf either of the addressees makes such a request the request must be rn writing and
dated, must specify whether an administrative review or de novo hean ' ~
must be served on the U.S. Department of Labor, Employment and Training Administration,
Oftice of Foreign tabor Certification, Attention: Bill Carlson, 200 Constitution Avenue. N.W..
Room C-4312, Washington, D.C. 20210, within seven calendar days of the date of this

Determination and l'lotice.

Sincerely,

M>ll/UZ__L' C,M ` '

' william r..can.son. Ph.o. (_;E L>v/r Lém¢,_..
Administrator
Oft'rce of Foreign Labor Certitication

Nov-so-zoos 11=43 202 sss H§E“b“B 97'/. P.oe

Case 2:07-cV-08428-ABC-RZ Document 1 Filed 12/31/07 Page 40 of 55 Page |D #:42

Exhibit C

Case 2:07-cV-08428-ABG-R`Z_ Document 1 Filed 12/31/07 PaQ;-;\ 41 of 55 Page |D #:43
~ Page 1 0f4

     

    

_' ' . - " . ' . ’. ' _ . - l Mark Boster!LosAngeles Times
HELP WANTED: As border enforcem`ent.has tightened. U.S. farms, such as one in lmperial Valiey, shown in 2005, are having a more
difficult time finding workers, the administration says.

T'Hé§"a`d`"`n;ii?i`ist`r§i"i`$h" "i"§""<"i"‘u"i'é`t"ly"'?éi§§'ing visa iég"ijlé`ti"<`§H§"B`§€§ij§§"`f“§r`"rnvvo`r`i€é`i§‘ar
short supply. ' ~

 

 

 

By Nicole Gaouette, Los Angeles Times Staff V\/riter
October 7, 2007

WASHlNGTON -~ With a nationwide farmworker shortage threatening to leave unharvested
fruits and vegetables rotting in tields, the Bush administration has begun quietly rewriting
federal regulations to eliminate barriers that restrict how foreign laborers can legally be

brought into the country.

The effort, urgently unden/vay at the departments of Homeland Security, State and Labor, is
meant to rescue farm owners caught in a vise between a complex process to hire legal guest
workers and stepped-up enforcement'that has reduced the number of illegal planters,
pickers and middle managers crossing the border. '

Related Stories
- Giuliani's micratinq position is in dispute
- Conoress quieth returns to immigration

Exhibit C

Case 2:07-cv-08428-ABC'-'R`Z Document 1 Filed 12/31/07 P§@e 42 of 55 PQU liDo#¢i44

"|t is important for the farm sector to have access to labor to stay competitive," said VVhite
House spokesman Scott Stanzel. "As the southern border has tightened, some producers
have a more difhoult time hnding a workforce, and that is a factor of what is going on today."

The push to speedily rewrite the regulations is also the Bush administration's attempt to step
into a breach left when Congress did not pass an immigration overhaul iri June that might
have helped American farms.t Almost three-quarters of farmworkers are thought to be illegal

immigrants.

On all sides of the farm industry, the administrations behind-the-scenes initiative to revamp
H-2A farmworker visas is fraught with anxiety. Advocates for immigrants fear the changes
will come at the expense of worker protections because the administration has received and
is reportedly acting on extensive input from farm lobbyists. And farmers in areas such as the
San Joaquin Val|ey, which is experiencing a 20% labor shortfall, worry the administration's
changes will not happen soon enough for the 2008 growing season.

"lt's like a ticking time bomb that's going to go off," said Luawanna Hallstrom, chief operating
officer of Harry Singh & Soris, a third-generation family farm in Oceanside that grows
tomatoes. "l'm looking at my fellow farmers and saying, 'Oh my God, what's going on?' "

Offici_als at the three federal agencies are scrutinizing the regulations to see Whetherthey
can adjust the farmworker program, an unwieldy system used by less than 2% of American
farms to bring in foreign workers They are considering a series of changes, including
lengthening the time workers can stay, expanding the types of work they can do, simplifying
how their applications are processed, and redefining terms such as "temporary." '

- Administration sources said they were moving aggressive|y. They declined to discuss details
of the proposals »

The agencies are also working on possible changes to a separate visa program, H-QB, which
brings in seasonal workers for resorts, clam-shucking operations and horse stables, among

other businesses

The administration has pursued the project discreetly. The issue of immigration has
generated friction between President Bush and the conservative Wing of the Republican
Party, which has strongly opposed many of the initiatives that Bush has pursued.

The changes to the H-2A visa program comprise one of more than two dozen initiatives the
administration announced in August. Most of the initiatives dealt With increased enforcement,
the most prominent being a measure that would force employers to either fire workers for ,
whom they've received "no match" notihcation (indicating their W-2 data don't match Social
Security Administration records) or face punitive action from the Department of Homeland
Security. When Homeland Security Secretary l\/lichael Chertoff announced the enforcement
push, he also acknowledged the problems that agriculture reported.

"Even putting aside no-match letters, just our increased work at the border vvas actually
causing a drop in the number of workers coming across," Chertoff said.

Exhibit C

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Case 2:07-cv-08428-ABG-RZ Documentl Filed12/31/O7 l?§ge 43 of 55 Phgefilbbht45

David James, an assistant secretary of Labor, said Bush asked his department, which has
jurisdiction over most H-2A rules, to review the entire program. The agency "is now inthe
process of identifying ways the program can be improved to provide farmers with an orderly
and timely flow of legal workers while protecting the rights of both U.S. workers and foreign

temporary workers," James said.

The current program, managed by all three agencies, is famously dysfunctional.

Farmers have to apply for workers about a month in advance, but the agencies often fail to
coordinate their response in time for the harvest, which farmers can't always predict At
Hallstrom's farm, Where tidy rows of tomato plants run almost to the ocean's edge, half of the
1,000 workers are in the H-2A program. (Nationally, about 60,000 H-2A applications a year _
are usually filed, compared With more than 3 million farm jobs to be filled. There is rio cap on

the number of H-ZA workers allowed into the U.S.)

She remembers submitting an emergency request for H-2A workers one year and getting the
visas 60 days later. She said the laborers spent two weeks pulling rotten fruit off the vines,
and the farm lost $2.5 million. "Devastating," Hallstrom said.

Growers also complain about paving for workers’ housing. transportation visas and other
fees. Harrv Yates. a North Caroiina Christmas-tree grower. estimates that his labor costs for
H-ZA workers are $14 an hour. compared with a competitor whose illegal laborers cost about
$7.50 an hour. Like other farmers. Vates said using the H-2A program was an invitation to
lawsuits from Worker advocates and frequent government investigations

 

 

"l understand why so many growers are afraid to use this program. lt is too expensive, too
complicated, too slow and too likely to land you in court," Yates said.

Some advocates for workers fiercely dispute this. They say farmers just want to keep wages
low. '

"The employers Want to be free of government oversight, legal-services representation for
the guest workers, and other efforts to enforce the modest H-2A worker protections," said
B`ruce Goldstein, executive director of the advocacy group Farmworker Justice, which is
affiliated with the nonprofit National Council of La Raza.

industry lobbyists have sent the Bush administration a set of detailed suggestions for
overhauling the H~2A program through administrative changes, which could take weeks to
put in place, and through changes in the regulations, a process that takes months.

Some of the suggestions under consideration include changing the procedures farmers must
use to try to hire U.S. citizens first. Currently farmers have to advertise the jobs, then submit
applications to Labor and Homeland Security to bring in foreign workers Growers would
prefer to move to a system in which they pledged that they had done all they could to recruit
U.S. workers, but rio longer had to submit an application to Labor,

Other changes under consideration would simplify the detailed H-2A housing requirements
extend the definition of "temporary" beyond 10 months, and expand the definition of
"agricultural" workers to include such industries as meatpacking and poultry processing

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Case 2:07-cv-08428-ABG#RZ Document 1 Fileol 12/31/07 P’ . .
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nicole.gaouette@latimes.com

Times staff Writer Walter F. Roche Jr. contributed to this report.

 

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Exhibit C
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Case 2:07-cv-08428-ABC-RZ Document 1 Filed 12/31/07 Page 45 of 55 Page lD #:47

Exhibit D

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i

' U.S. Department Labor Employment and Training Administration
Chicago Processing Center '
844 N. Rush Street

12th Floor

Chicago, `l.L 6061 l
March 05, 2007

, MC PEAK ORCHARDS No. oflob Openings: 16
47 COUNTRY ROAD 4237 .lob 'l`itle: FARMWORKER, FRUlT ll
PlTTSBURG, TX 75686 Period ot` Employment 04/08!2007 - 0?/13/2007
Case Number: C-07057-04986
Date ofReceipt by DOL: 02/26/2007
RE: MC PEAK ORCHARDS

Dear Sir/Madam,

Your temporary alien agricultural labor certification application, which was received by this
office on February 26, 2007, has been reviewed, and it has been determined that it does not meet
the requirements of 20 CFR 655.10 l - 655.103. Consequently, pursuant to the provisions of 20
CFR 655.104, your application is not being accepted for consideration on the grounds that the
availability of U.S. workers cannot be tested because the benefits, wage rates, and/or working

conditions do not meet the criteria ofthe regulations

The specific reasons why your application cannot be accepted for consideration, with citations to

the relevant regulatory standards, appear on the enclosed checklist.

As provided by the regulations at 20 CFR 655-.104(0), you have the opportunity to requestan
expedited administrative judicial review or a de novo hearing before a Department of Labor
(DOL) Adrninistrative Law Judge on the non-acceptance of the application To obtain this
review or de novo hearing, you must tile within seven (7) calendar days of- the date of this notice
by facsimile (fax), telegram or other means nunnally assuring next day delivery, a written
request for such a review or hearing to the Chief Administrative Law Judgc, U.S. Department of
Labor, 800 K Street NW, Suite 400, Washington, DC 20001-8002, with a copy to this office The
request for a review or hearing should contain any legal arguments that you believe will rebut the

basis for the non-acceptance of the application.

If you do riot request an expedited administrative judicial review or a de novo hearing before an
Administrativc Law Judge within seven (7) calendar days of the date of this notice of non-
acceptance, or if you do not choose to resubmit a modified application within five (5) calendar
days, no further consideration of the application will be made by any Department of Labor

ofticial_.

Exhibit D

Case 2: O7- -C\/- -08428- ABG-RZ Document 1 Filed 12/31/07 Pa 4 5 Pa 49
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Sincerely,

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MarieC Go

Certifying 0chch

   

Enclosure

CC: 'l`exas Workl`orce Commission
Alien Labor Certification
Department TWC Building

Exhibit D

Case 2:07-cV-08428-ABC'-R`Z Document 1 Filed 12/31/07 |?§g`e 48 of 55 Page |D #:50

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° C}[ECKLIST vENCLOSURE FOR UNACCEPTABLE APPLICATIONS

l. Employment Training Adr_ninistration Sanctions 20 CFR 655.110(¢)

~ Det`rciency:

After review of this labor certification request submitted and signed by the Carrie Mc Peak,
Manager, Mc Peak Orehards, it has been determined that Global Horizons, Inc. 1s the employer

of record rather than Mc Peak Orchards..

‘ Modilication Required:

Pursuant to a determination made by Administrative Law Judge, William Dorsey, and affirmed
by William Carlson, Oftice of Foreign Labor Certification, Global Horizons, Inc. has been .
debarred from the H-2A program for the next three years. For this reason this labor codification

cannot be accepted for further consideration

Exhibit D

Case 2:07-cV-08428-ABC-RZ Document 1 Filed 12/31/07 Page 49 of 55 Page |D #:51

Exhibit E

Case 2:07-cv-08428-ABC-R`; Document 1 Filed 12/31/07 l?§g\.e 50 of 55 Page |D #'52

U.S. Department Labor Employment and Training Administration
Chicsgo Processing Center 1
844 N. Rush Street

12th Floor
Chicago, lL 60611
June Ol, 2007
MORDE_CHAI ORIAN . No. of J cb Openings: 10
GLOBAL HORJZONS, l'NC, lllll Job Title: HORTICULTUR.AL
SANTA MONICA BLVD., SUITE 1440 WORKER II
LOS ANGELES, CA 90025 Period of Employment 06/01/2007 v 04/01/2008
1 Case Number: C-O7 145-05703
Date of Recelpt by DOL: 05/25/2007
Due Date for Modifications: 06/06/2007
MM!MM
Dear Sir/Madam,

Your temporary alien agricultural labor certification application which was received by this
' office on May 25, 2007, has been reviewed, and it has been determined that it does not meet the
requirements of 20 CFR 655.10 1 - 655.103. Consequently, pursuant to the provisions of 20
CFR 655.104, your application is not being accepted for consideration on the grounds that the
availability of U.S. workers cannot be tested because the benefits, wage rates, and/or working

conditions do not meet the criteria ofthe regulations

Please be advised that Global Horizons, Inc. was a fenner H-ZA employer that was debarred
from participating in the H-ZA program Theref`ore, we are rejecting your application due to the
involvement of Global in the process ss an agent in your application and its involvement in the

hiring and recruitment process ’

The specific reasons why your application cannot be accepted for consideration with citations to

the relevant regulatory standards, appear on the enclosed checklist

As noted in Itern l of the checklist, you may submit a modified application which eliminates

Global Horizons from any involvement in your application The other modifications that are
required for consideration of your application also appear on the checklist If you choose to file
a modified application, it must be received in this office no later than the above captioned date.

Include your case number on any correspondence sent to the National Processing Center._
Failure to do so may result in a delay in processing your application Direct inquiries to

Shane Barbour at 312-353-5752.

Exhibit E

Case 2: - - - ~ `
07 cv 08428 ABC-R§Z Document 1 Fl|eo| 12/31/07 P'§ge 51 of 55 Page |D #'53

At the time you file a modified application with this office, you must submit a duplicate
modified application to the State Workforoe Ageney office where you submitted the duplicate of

your initial application

If` the modifications in that application are the ones specified in this notice, and the modified .
application is received by the date requested, it will be accepted for consideration and a
certification determination will be made on your application not later than thirty (30) days prior

to your date of need.

If you file a modified application, and. it does not address all the modifications listed in this
notice, we will not be able to accept it for consideration '

If` you file a modified application, and it does address all the modifications listed in this nctice,
but it is not received in the office by the date indicated, the certification determination will be
postponed one day f'or each day's delay in receiving the modified application

As provided by the regulations at 20 CFR 655.104(c), you have the opportunity to request an
expedited administrative judicial review or a de novo hearing before a Department cf Labor
(DOL) Administrative Law Judge _on the non-acceptance of‘ the application To obtain this
review or de novo hearing, you must file within seven (7) calendar days ofthe date of`_ this notice
by facsimile (f'ax), telegram or other means normally assuring next day delivery, a written
request for such a review or hearing to the Chief Adrninistrative Law Judge, U.S. Department of
Labor, 800 K. Street NW, Suite 400, Washl`ngton, DC 20001-8002, with a copy to this office. The
request for a review or hearing should contain any legal arguments that you believe will rebut the .

basis for the non~acceptance of the application

If` you do not request an expedited administrative judicial review or a de novo hearing before an
Administrative Law Judge within seven (7) calendar days of the date of this notice of non-
acceptance, or if you do not choose to resubmit a modified application within five (5) calendar
days, no further consideration of the application will be made by any Department ot` Labor

official.

Sincerely,'

       

Certifying Offtcer ' n
En.closure

' cci tenant rimer FARM '
Michigan Department of Career Development MDCD/DSA

Alien Labor Certificaticn
Cadillac Place

Exhibit E

(_Jase 2:07-cV-08428-ABC-RZ Document 1 Filed 12/31/07 F?ei`@£ 52 of 55 Page |D #:54

CHECKLIST ENCLDSURE FOR UNACCEPTABLE APPLICATIONS

1. Employment Training Admrnistration sanctions 20 cna 655.110(¢)

Defieiency: .
Global Horizons, lne., acting as an Agent, has submitted a labor certification request for the'

Employer Karni Family Farm. As indicated in item 15 of the ETA 790 attachments Global .
Horizons, Inc. is involved in the referral process.

Modification Required: y
Pursuant to a determination made by William Carlson, Oftice of Foreign Labor Certification, and

at`Ermed by Administrative Law Iudge, William Dorsey, Global Horizons, Inc. has been
debarred from the H-2A program for the next three years. Your application, at a minimum
authorizes Global to act as your agent for the recruitment and hiring of workers, The
involvement of Global Horizons in your application may subvert the intent of Judge Dorsey’s
Order and your application carmot be accepted at this time.

However, you are free to proceed with a modified application which removes Global Horizons
from all involvement in your H-2A application

Horizons, we will require additional information so we can properly evaluate Global Horizons
role in your application and in order to make a complete assessment of whether the relationship
would be in violation of the Order. Please supply the following information

Alternatively, if you wish to proceed with this application including the involvement of Global

0 Describe the specific duties of Global under this H»ZA application as the "agen " for
Karni Farms. Will Global Horizons have any role in the supervision, payment or control
of the workers‘? Will any Global employees be on site during the performance of the
work contract? If yes, how many and in what capacity?

¢ In Item 15 of the Attachment to the ETA 790, Global is responsible for referrals and
hiring commitments to workers, Please explain the exact process used for the referral
process, interviews and hiring by Karni farms and the specific duties of Global in this

process

o Produce all contractual documents reflecting the services that Karni Fanns is securing
from Global Hon'Zons. '

¢ What are the terms of Karni Fanns payments to Global? ls it paying a flat fee or is
compensation in any way related to number ofworkers supplied or work performed

Please provide all relevant documents

o ls Global supplying H-ZA workers to Karni Farms?

l. Do the workers have employment contracts with Global or _Kami Farms? Please
produce the documents demonstrating such contracts ,

- 2. Where are the workers currently located?
3. How are they getting to your farm? Describe the details involved.

4. Who is paying for transportation ofworkers?

Exhibit E

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Case 2:07-cv-0842 - ~"
' . 8 ABC-RZ Document 1 Filed 12/31/07 F?’é§e 53 of 55 Page |D #'55

5. After the work period is over, what happens to the workers?
6. What obligations does Global have to the workers after placing them on Karni

premises?

All of tire requested information must be supplied by Karni harms on Karni Farms, letterhead
Afcer review of this information we will advise you of our decision as to whether Global is ‘
improperly participating in the H~ZA program and whether Karni Farms application must be

rejected

2. Farm Labor Coutractor ,20 CFR`655.106 (c)(.'Z) & 29 CFR 500.1
Deficiency: -

lf you wish ustc proceed with the current application, the referral instructions in item 15 of the
ETA 790 attachments identify Global Horizons, Inc. as being directly involved with recruitment
of U.S. referrals Since Global Horizons, Inc is involved with recruitment of U.S. referrals,`they
are acting as a Farm Labor Contractor. Global Horizons, lnc. has not provided proof that they
have obtained the appropriate Farm Labor Contractors license(s) in order to perform these

functions .

Modificatiou Required: ' . _
Global Horizons, .Inc. must submit their Fam'r Labor Contractor-(FLC) Certificate and State FLC

license (if applicable).

3. Rate of Pay _ 20 CFR 655.102 (b)(9)

Deiicieucy: '

The employer has indicated the rate ofpay'being offered as $9.43 per hour. The current Adverse
Efi`ect Wage Rate (AEWR) in Michigan is $9.65 per hour. The wage being offered must be at
least the sarno as the AEWR for the state in which the work will be performed or higher.

Modificuticn Required:
The employer must change the rate of pay being offered so it at least equals the current ABWP.

in Michigan ($9.65 per hour).
4. Combiuatiou of Duties 20 ~C_FR 655,102

Deficiency: b
The job description in item 13 of the ETA 750 and item 10 of the ETA 790 indicates that two (2)

`of the ten (10) requested H-ZA workers will be performing more skilled duties involving
maintaining all aspects of the hydroponics system The employer has identified a need for _2 job

opportunities

` Modincaaoa nequrreo=
The employer will need to

file a separate application for one of the two opportunities presented
within the job description .

summaries 20 csa oss.ror (o)

-Deficiency: _ . ' ' l
The requested Date ofNeed must be at least 45 days nom the date this application rs received at
d on 5/25/2007.

the appropriate National Processing Center. The application was receive

Exhibit E

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Mddmcation Required= d must be modified to a date that is no earlier than 7/9/2007.

The requested Date of Nee

Exhibit E

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Case 2:07-cV-08428-,6\BC-5|":\"r?h Document 1 Filed 12/31/07 Pét::;ig 55 of 55 Page |D #:57

HAI OR.IAN '
» 1234€§§§1? HORlZONS, INC, ll l ll SANTA
MONICA BLVD., SUlTE 1440
LOS ANGELES, CA 90025

 

Exhibit E
_50_

